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·1· · · · · · · · UNITED STATES DISTRICT COURT

·2· · · · · · · ·NORTHERN DISTRICT OF CALIFORNIA

·3

·4· PAULINE M. VELEZ,

·5· · · · · · · ·Plaintiff,

·6·   · · · · vs.· · · · · · · · · · · ·Case No.
· ·   · · · · · · · · · · · · · · · · · 4:20-cv-05170-KAW
·7·   DEPARTMENT OF VETERANS
· ·   AFFAIRS, et al.,
·8
· ·   · · · · · · ·Defendants.
·9·   ______________________________

10

11

12· · · · · · · · · · ZOOM VIDEOCONFERENCE

13· · · · · · · DEPOSITION OF TIMOTHY HUGH GRAHAM

14· · · · · · · · · · · · ·May 3, 2021

15· · · · · · · · · · · · ·10:31 a.m.

16

17· · · · · · · · · · Martinez, California

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19

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21
· · Reported by:· QUYEN N. DO, CSR No. 12447
22

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·1· APPEARANCES:

·2

·3· · · ·For Plaintiff:

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· ·   ·   ·   ·   ·   ·   415.276.1738 Fax
·7·   ·   ·   ·   ·   ·   rhoyer@hoyerlaw.com

·8
· ·   · · ·For Defendant:
·9
· ·   ·   ·   ·   ·   ·   UNITED STATES ATTORNEY'S OFFICE
10·   ·   ·   ·   ·   ·   VALERIE E. SMITH, ESQ.
· ·   ·   ·   ·   ·   ·   450 Golden Gate Avenue, Floor 9
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· ·   ·   ·   ·   ·   ·   valerie.smith2@usdoj.gov
12

13· · · ·Also Present:

14· · · · · · Coleen Welch

15· · · · · · Pauline Velez

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·4· · · · · · · · · · ·Monday, May 3, 2021

·5· · · · · · · · ·Quyen N. Do, CSR No. 12447

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·1· · · · · · · · · · MARTINEZ, CALIFORNIA;
·2· · · · · · · ·MONDAY, MAY 3, 2021, 10:31 A.M.
·3
·4· · · · · · · · · · · · · ·--oOo--
·5
·6· · · · · · THE REPORTER:· Good morning.· My name is Quyen
·7· Do, a California Certified Shorthand Reporter, and this
·8· deposition is being held via videoconference equipment.
·9· The witness and reporter are not in the same room.· The
10· witness will be sworn in remotely.
11· · · · · · · · · · · · · ·--oOo--
12· · · · · · · · · · TIMOTHY HUGH GRAHAM,
13· · · ·having been first duly sworn, was examined and
14· · · · · · · · · · testified as follows:
15
16· · · · · · · · · · · · ·EXAMINATION
17
18· BY MR. HOYER:
19· · · ·Q· · Good morning, Mr. Graham.
20· · · ·A· · Good morning.
21· · · ·Q· · Have you ever had your deposition taken
22· before?
23· · · ·A· · Yes.
24· · · ·Q· · And how many times approximately?
25· · · ·A· · One time.


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·1· · · ·Q· · Okay, how long ago was that?
·2· · · ·A· · I'm not sure of the exact date, but I would
·3· say over eight years ago.
·4· · · ·Q· · Okay.· That actually is a good example of
·5· something that I wanted to talk to you about.· First,
·6· which is, I don't want you to guess in answering my
·7· questions, but if you can give me -- give me an estimate
·8· or approximation, that would be adequate.
·9· · · ·A· · Okay.
10· · · ·Q· · So there's -- you see that the court reporter
11· is there -- she's actually typing up everything that's
12· said, and for that reason, it's important to remember a
13· couple of things.· One is that only one person can talk
14· at any one time.· Sometimes, in conversation, if you
15· think you know where a -- a question is going, you'll
16· jump in just to be helpful, but that doesn't work in
17· this context.· So, if you can endeavor to wait until I
18· finish asking a question before you start to answer,
19· that will make her job much easier.
20· · · · · · The other thing about the deposition is, all
21· of your answers have to be verbal, so you can't respond
22· by shaking your head or saying "uh-huh," something like
23· that, okay?
24· · · ·A· · Okay.
25· · · ·Q· · Now, I told you before about the difference


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·1· between guessing and -- and an estimate.· If you don't
·2· understand any question that I ask you, I'm happy to
·3· rephrase it or clarify.· If you do answer it, I'll
·4· assume that you understand the -- the question.
·5· · · · · · Now, have you reviewed any documents in
·6· preparation for your testimony today?
·7· · · ·A· · Only the documents that were provided by the
·8· U.S. Attorneys Office to the Plaintiff's counsel.
·9· · · ·Q· · Okay.· And have you talked to anyone, other
10· than your attorney, in preparation for your testimony
11· today?
12· · · · · · MS. SMITH:· Objection.
13· · · · · · You can answer.· Go ahead, Mr. Graham.
14· · · · · · THE WITNESS:· No.
15· BY MR. HOYER:
16· · · ·Q· · Okay.· So, Ms. Smith made an objection for the
17· record, and she'll be doing that occasionally,
18· hopefully, just occasionally, and -- but unless she
19· instructs you not to answer a question, I'm entitled to
20· an answer.
21· · · · · · Now, I don't want to hear anything that was
22· said between you and your attorneys, so that's one
23· important area of privilege.· I'll never ask a question
24· that -- that calls for that.· So -- can you hear me
25· okay?


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·1· · · ·A· · It's challenging.
·2· · · · · · · · ·(Discussion off the record)
·3· BY MR. HOYER:
·4· · · ·Q· · So, when we're done here today, Mr. Graham,
·5· the court reporter will type up everything into a
·6· booklet and provide it to your attorney for your review,
·7· and you can make changes to your testimony then, but if
·8· you do remember that a previous answer today needs to be
·9· amended or corrected somehow, just say so, and I'm happy
10· to allow you to do that, because if you do make changes
11· to your testimony later, I can comment on the fact that
12· you made changes to your testimony to the jury if it
13· goes to trial, okay?
14· · · · · · MS. SMITH:· Remember to give verbal responses,
15· Mr. Graham.
16· · · · · · THE WITNESS:· Okay.· I didn't realize that was
17· a question, okay.
18· BY MR. HOYER:
19· · · ·Q· · And have you taken any medications, in the
20· past 24 hours, that may affect your ability to think or
21· to remember?
22· · · ·A· · No.
23· · · ·Q· · Okay.· Have you ever been convicted of a
24· felony?
25· · · ·A· · No.


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·1· · · ·Q· · Okay.· Now, the previous deposition that you
·2· said happened maybe eight years ago or so, what kind of
·3· case was that?
·4· · · ·A· · It was a litigation for a Freedom of
·5· Information Act request case.
·6· · · ·Q· · Okay.· And do you remember who the parties
·7· were in that case?
·8· · · ·A· · I do not remember the -- the Plaintiff's name.
·9· Of course, the -- the defendant would be the United
10· States Department of Veterans Affairs.
11· · · ·Q· · Okay.· Now, did you create any -- any notes or
12· outlines in preparation for your testimony today?
13· · · ·A· · No.
14· · · ·Q· · Okay.· And are you alone there in -- in the
15· room that you're testifying in?
16· · · ·A· · Yes.
17· · · ·Q· · Okay.· And you don't have access to any sort
18· of chat or e-mail during the -- the time you're
19· testifying today, correct?
20· · · ·A· · My e-mail and my Microsoft Teams are both
21· closed, so no.
22· · · ·Q· · All right, terrific.
23· · · · · · You're currently employed by the VA Northern
24· California Health Care System?
25· · · ·A· · Yes.


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·1· · · ·Q· · Okay.· And when did you first begin working
·2· for them?
·3· · · ·A· · For VA Northern California Health Care System
·4· in November 2016.
·5· · · ·Q· · Okay.· Is there some sort of abbreviation for
·6· your employer that you use?
·7· · · ·A· · We just called it Northern California or
·8· NorCal.
·9· · · ·Q· · Okay.· All right, I'll just use that to -- to
10· save on paper.
11· · · · · · So, what is your job title with NorCal?
12· · · ·A· · The associate director for the East Bay
13· division.
14· · · ·Q· · Okay.· Have you always been the associate
15· director?
16· · · ·A· · Yes.
17· · · ·Q· · Okay.· And can you just give us a -- a brief
18· overview of your job responsibilities?
19· · · ·A· · Sure.· My overall job responsibility is, I
20· supervise the site managers for the East -- East Bay
21· sites, which includes Oakland, Vallejo, and Fairfield.
22· Vallejo, we also call that -- that location Mare Island.
23· I'm also responsible for the day-to-day operations at
24· the Martinez campus here in Martinez in California.
25· · · · · · In addition to that, I supervise several


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·1· administrative services, the first being finance or
·2· fiscal service.· With that responsibility comes overall
·3· execution of a $1.1 billion budget for the health care
·4· system, along with all of the accounting and payroll
·5· functions of the health care system.
·6· · · · · · I also supervise benefits and data management
·7· service.· That -- that service provides all of our
·8· medical support -- support for the health care system,
·9· with the exception of primary care service.· It also has
10· a -- a data analytics arm to it as well health
11· information management enrollment and eligibility, and
12· decedent affairs falls under that -- that service.
13· · · · · · I'm also responsible for safety/emergency
14· management and occupational health.· That focuses on an
15· employee safety as well occupational health, as well as
16· our response to emergency management incidents.· I'm
17· also responsibility for environmental management
18· service.· That includes housekeeping and groundskeeping
19· at all of our locations across the health care system.
20· · · · · · I have responsibility for the business office
21· for geriatrics and extended care service line.· That's
22· managing the budget and finances associated with all of
23· our geriatrics and extended care programs.
24· · · · · · I have responsibility for our workforce
25· development coordinator for our privacy and FOIA officer


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·1· as well as our suspense coordinator, which manages --
·2· · · · · · · · ·(Discussion off the record)
·3· · · · · · THE WITNESS:· Suspense coordinator.· That
·4· person manages all of the action items coming into the
·5· health care system either through VA Central Office or
·6· through our Veterans Integrated Service Network.
·7· · · · · · I have a dotted-line authority to the Office
·8· of Information Technology, which, of course, handles all
·9· of our IT needs for the health care system.
10· · · · · · I apologize.· I need just a moment to think
11· about which other services I have.
12· · · · · · I have supply chain management service, which
13· is responsible for all of the supplies that are used by
14· our -- our medical providers across the health care
15· system.· I have responsibility for patient experience
16· office, which is our patient advocates who handle issues
17· in real time associated with patient interaction that
18· were not -- were not in -- in the patient's interests or
19· in the -- that created conflict with the patient, and
20· helping solve those problems in a -- in a manner that is
21· appropriate for the patient.· And then last, but not
22· least, I have responsibility for public affairs, which
23· includes internal and external communications for the
24· organization.
25· · · ·Q· · Okay.· Have your job duties changed


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·1· significantly in the last five years?
·2· · · ·A· · My job duties have not.
·3· · · ·Q· · Okay.· Now, I believe that you said that you
·4· were the site manager for the Martinez location; is that
·5· correct?
·6· · · ·A· · I'm responsible for the day-to-day operations
·7· of the Martinez location.· There is no site manager at
·8· Martinez.
·9· · · ·Q· · I see.· But there are site managers at other
10· locations.
11· · · ·A· · There are site managers at locations for which
12· there is no senior executive on campus, and so the only
13· two locations that do not have site managers are where
14· myself is located, which is in Martinez, as well as in
15· Sacramento at our Mather campus, where our associate
16· director for the Sacramento Valley division is located.
17· · · ·Q· · Okay.· Now, where did you work prior to
18· working at NorCal?
19· · · ·A· · Can I ask if I can get a time frame, or do you
20· only want the immediate job before NorCal?
21· · · ·Q· · Let's just start with the immediate job.
22· · · ·A· · Sure.· I was the director of the VHA Freedom
23· of Information Act office and VA Central Office in
24· Washington, DC.
25· · · ·Q· · And how long were you in that job?


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·1· · · ·A· · I was in that job from 2008 until 2016.
·2· · · ·Q· · And prior to that, where did you work?
·3· · · ·A· · Prior to that, I was a privacy specialist in
·4· the VHA Privacy Office and VA Central Office from . . .
·5· · · ·Q· · And how long were you that?
·6· · · ·A· · I was there from 2007 -- I can't remember the
·7· exact month -- until 2008, when I was detailed initially
·8· to the VHA FOIA office.
·9· · · ·Q· · Okay.· And prior to that, what was your job?
10· · · ·A· · Prior to that, I was the privacy and FOIA
11· officer and assistant compliance officer at the
12· Philadelphia VA Medical Center.
13· · · ·Q· · How long were you there?
14· · · ·A· · I was there from 2005 until 2007 in that role.
15· · · ·Q· · And prior to that?
16· · · ·A· · Prior to that, I was at the Philadelphia VA
17· Medical Center as a presidential management fellow, and
18· in that role I served as special assistant to the
19· medical center director.
20· · · ·Q· · And what sorts of things did you do in that
21· job generally?
22· · · ·A· · It was a -- it was a training program straight
23· out of graduate school, so I did a mult- -- multitude of
24· different projects for the -- for the medical center
25· director.· I didn't have specific duties.· It was rather


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·1· a training program with a -- a wide range of projects in
·2· each of the clinical as well as administrative services
·3· across the hospital.
·4· · · ·Q· · Okay.· And how -- how long were you in that
·5· training--?
·6· · · ·A· · It was a two-year program, so from 2003 until
·7· 2005.
·8· · · ·Q· · And prior to that, you -- you were in grad
·9· school?
10· · · ·A· · Yes.
11· · · ·Q· · Okay.· And do you have any medical training?
12· · · ·A· · I do not.
13· · · ·Q· · So, when you took on your current position, I
14· believe you said it was in 2016; is that correct?
15· · · ·A· · Correct.
16· · · ·Q· · Did you -- and prior to that, you worked in,
17· sort of, FOIA and privacy issues.
18· · · · · · Did you get any training to take on your
19· current position?
20· · · · · · MS. SMITH:· Objection.
21· · · · · · Okay, you can answer.
22· · · · · · THE WITNESS:· For a period of six months, from
23· November of 2015 until May of 2016, I was detailed by VA
24· Central Office to the VA Central California Health Care
25· System located in Fresno, California, as the associate


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·1· director for that health care system.
·2· · · · · · And I'm also a graduate of the Leadership VA,
·3· which is a internal leadership program.· I was actually
·4· a class member of the plaintiff at that time, and then
·5· I'm also a graduate of the Health Care Leadership
·6· Development Program, and I've coached in that program
·7· now for two years as an executive coach and sponsor.
·8· BY MR. HOYER:
·9· · · ·Q· · Leadership VA, how long was that program?
10· · · ·A· · It's a three-week training program.
11· · · ·Q· · And the health care development program, is
12· that what you said?
13· · · ·A· · Health Care Leadership Development Program.
14· That's also a three-week training program spread over
15· the course of one year.
16· · · ·Q· · Okay.· And did the job in Fresno differ
17· materially from your current job?
18· · · ·A· · No.
19· · · ·Q· · And when did you first meet Dr. Velez?
20· · · ·A· · My first time meeting Dr. Velez was in 2010,
21· when we were both participants in leadership
22· development -- in the leadership VA program.
23· · · ·Q· · Okay.· And did you have much interaction in --
24· in that first meeting?
25· · · ·A· · I wouldn't classify it as "much interaction."


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·1· I mean, we were classmates in the program, so we -- we
·2· talked in the course of that program, but I can't
·3· categorize exactly how much interaction that was.
·4· · · ·Q· · Okay.· Now, starting in -- in 2016, when you
·5· came to Martinez, did you have much interaction with
·6· Dr. Velez?
·7· · · ·A· · Yes.· I would say the interaction was at least
·8· once weekly, if not more, depending on what issues and
·9· challenges were facing the campus at -- at any given
10· time.
11· · · ·Q· · Okay.· And what sorts of issues would you
12· discuss with her?
13· · · ·A· · Predominantly, at that time, she was -- she
14· had assumed a site manager role, and so it was mostly
15· administrative-type conversations regarding engineering
16· issues, planning of construction, execution of
17· construction projects as well as base management across
18· the Martinez campus.
19· · · ·Q· · And what sorts of construction issues did you
20· discuss with her in 2016?
21· · · ·A· · It was predominantly planning for construction
22· projects and how that -- how those construction projects
23· would impact various moves across the health care
24· system, with staff moving from one location to another.
25· · · ·Q· · And do you have prior construction-planning


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·1· experience or training?
·2· · · ·A· · I have experience from the time where I was
·3· the special assistant to the medical center director as
·4· a presidential management fellow.· I also participated
·5· in the Strategic Planning Council for the network
·6· whenever I was the associate director the VA Central
·7· California Health Care system.· At that time, I also
·8· supervised the engineering service, which is responsible
·9· for construction projects at VA Central California
10· Health Care System.
11· · · ·Q· · Okay.· And you mentioned space management was
12· one of the issues that you discussed with Dr. Velez in
13· 2016.
14· · · · · · Was that also revolving around the
15· construction and -- and the impact on staffing, that
16· sort of thing, or was that a separate type of issue?
17· · · ·A· · Can you clarify what you mean in terms of the
18· impact on staffing?
19· · · ·Q· · Well, you said that you discussed construction
20· and planning of construction with her vis-à-vis impact
21· on staffing.· Did I get you right?
22· · · ·A· · The impact on staff, so not staffing.· So the
23· word "staffing," I would --
24· · · · · · MS. SMITH:· Objection.
25· · · · · · I think everyone froze.


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·1· · · · · · THE WITNESS:· I can still hear.
·2· · · · · · MR. HOYER:· Yeah.· Valerie, can you hear me?
·3· · · · · · MS. SMITH:· [No response].
·4· · · · · · MR. HOYER:· Uh-oh.
·5· · · · · · THE REPORTER:· Ms. Smith, are you still there?
·6· · · · · · MS. SMITH:· [No response].
·7· · · · · · THE REPORTER:· Should we go off the record?
·8· · · · · · MR. HOYER:· Yeah, let's go off the record.
·9· · · · · · · · · · · (Off the record)
10· BY MR. HOYER:
11· · · ·Q· · Oh, I think you were correcting me.· You --
12· you mentioned that the construction-planning discussions
13· involved the impact on staff.· Can you tell me what you
14· mean by the impact on staff?
15· · · ·A· · Sure.· It -- it -- when staff are having to
16· move from one location to another, they may or may not
17· be within the close proximity of their coworkers, and so
18· understanding the impact of certain moves, when they
19· were going to happen, and what that impact might be, it
20· was an important part of space planning.
21· · · ·Q· · Okay.· So, now, you said Dr. Velez, at the
22· time, was the site manager for Martinez, and I'm
23· wondering if you got an adequate basis to assess her
24· performance as site manager during that time.
25· · · · · · MS. SMITH:· Objection.


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·1· BY MR. HOYER:
·2· · · ·Q· · You can answer.
·3· · · · · · THE WITNESS:· Should I go ahead and answer,
·4· Valerie?
·5· · · · · · MS. SMITH:· Yes.· To the extent you understand
·6· his question, you can answer.
·7· · · · · · THE WITNESS:· Okay.
·8· · · · · · So the only basis that I had was the
·9· first-year performance appraisal that I did on Dr. Velez
10· as the site manager.· At that time, I gave her an
11· overall rating of outstanding, which is the highest
12· rating that one can be afforded for her role as site
13· manager.
14· BY MR. HOYER:
15· · · ·Q· · Okay.· What about her performance stood out to
16· you as outstanding?
17· · · ·A· · Dr. Velez is highly organized.· She is very
18· thoughtful in her approach to managing work/managing
19· processes.· She has a -- a very good overall
20· understanding of the health care system, a good
21· historical perspective of the health care system.· She
22· understands the impact of -- of different things on
23· different moves and space limitations on clinical
24· services, and so all of those combined made her good at
25· the -- the site manager function.· There were some


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·1· opportunities.· Oftentimes a lot of engineering issues
·2· went unresolved, and I don't -- I'm -- I can't
·3· necessarily pinpoint those to Dr. Velez, but, really, a
·4· lack of communication overall across the health care
·5· system with -- with regard to solving engineering delays
·6· and engineering process failures for the Martinez campus
·7· in particular.
·8· · · ·Q· · For the last issue, is there something that,
·9· in your mind, she should have done differently in order
10· to address that -- that issue?
11· · · ·A· · No.· I can't say that she would have done
12· anything differently.· Since that time, we've been able
13· to put some processes in place to assure that things --
14· engineering issues are resolved in a more timely manner,
15· but I can't say that it -- that it was any fault of
16· Dr. Velez.
17· · · ·Q· · Okay.· Have you told me now all the -- the --
18· the major aspects of her performance that you viewed as
19· outstanding?
20· · · ·A· · Yes.
21· · · ·Q· · And how did you -- how did you get along with
22· Dr. Velez when she was site manager?
23· · · ·A· · I never had any --
24· · · · · · MS. SMITH:· Object.
25· · · · · · THE WITNESS:· Oh.


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·1· · · · · · MS. SMITH:· Go -- go ahead.
·2· · · · · · THE WITNESS:· I never had any issues with
·3· Dr. Velez as -- when she was in a site manager role.
·4· BY MR. HOYER:
·5· · · ·Q· · Okay.· Now, your understanding is that
·6· Dr. Velez is Hispanic in race?
·7· · · ·A· · That's my understanding.
·8· · · ·Q· · Okay.· When did you first get an understanding
·9· that she was Hispanic, do you remember?
10· · · ·A· · I don't remember an exact time frame.· It was
11· after I arrived on station, and she -- she told me some
12· information about her -- her familial background.· But I
13· don't -- I don't know an exact time frame.
14· · · ·Q· · Okay.· Are you aware of how many Hispanic
15· physicians are employed with by NorCal?
16· · · ·A· · I'm not aware of how our physicians
17· self-identify in terms of their race.· Or ethnicity.
18· · · ·Q· · Do you -- I'm sorry to interrupt you.
19· · · · · · Do you -- do you have any sort of
20· approximation of how many physicians you might identify
21· as Hispanic?
22· · · ·A· · I do not.· I don't supervise the physicians.
23· · · ·Q· · Now, how many physicians in NorCal are also
24· site managers?
25· · · ·A· · Currently only one.


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·1· · · ·Q· · And who is that?
·2· · · ·A· · Dr. Jane Addagatla.
·3· · · ·Q· · And the court reporter probably wants you to
·4· spell that.
·5· · · ·A· · I'm not even sure I would -- I have to -- do
·6· you mind if I write it down?· That's the only way that
·7· I'm going to be able to spell it.
·8· · · ·Q· · Sure, that's fine.
·9· · · ·A· · Okay.· I think it's A-d-d-a-g-a-t-l-a.
10· · · ·Q· · And which location is -- is she the site
11· manager?
12· · · ·A· · McClellan Outpatient Clinic.
13· · · ·Q· · And where is McClellan?
14· · · ·A· · It is in northwest Sacramento.
15· · · ·Q· · Now, during your time in Martinez, were there
16· other physicians who were site managers?
17· · · · · · MS. SMITH:· Objection.
18· · · · · · THE WITNESS:· If you could clarify, are you
19· meaning at Martinez or other locations?
20· · · · · · MR. HOYER:· Anywhere in NorCal.
21· · · · · · THE WITNESS:· Yes.
22· BY MR. HOYER:
23· · · ·Q· · And who were those?
24· · · ·A· · Dr. Ron Chun, Ronald Chun, was the site
25· manager at the Oakland Outpatient Clinic.


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·1· · · ·Q· · And what race or ethnicity is he?
·2· · · ·A· · I'm not sure what specific ethnicity he
·3· identifies as.
·4· · · ·Q· · What about race?
·5· · · ·A· · I would say Asian American, but that's the
·6· extent of -- that I'm familiar with.
·7· · · ·Q· · Okay.· Any other physicians that were site
·8· managers in NorCal?
·9· · · ·A· · No.
10· · · ·Q· · Okay.· Do you have, currently, any
11· responsibility for the delivery of health care in
12· Martinez?
13· · · ·A· · No.
14· · · ·Q· · Okay.· In the Fresno location, when you were
15· there, who managed the clinical operations?
16· · · ·A· · Clinical operations are routinely managed by
17· the chief of staff for each VA medical center.
18· · · ·Q· · Okay.· And who is the chief of staff at
19· Martinez?
20· · · ·A· · The chief of staff -- there is no chief of
21· staff at Martinez.
22· · · ·Q· · I'm sorry.· I thought you said that the chief
23· of staff of each location is the person responsible for
24· managing clinical operations.· I did hear you wrong?
25· · · ·A· · You heard -- what -- what -- let me clarify.


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·1· The -- the chief of staff is for the entire health care
·2· system, so it's for VA Northern California Health Care
·3· System, not just Martinez.
·4· · · ·Q· · I see.· Now, did you ever become aware that
·5· Dr. Velez had assisted others in NorCal with pursuing
·6· EEO complaints, complaints of discrimination or
·7· harassment?
·8· · · ·A· · No.
·9· · · ·Q· · Now, you're familiar with a Dr. Martin at
10· Martinez?
11· · · ·A· · No.
12· · · ·Q· · Okay.· You're familiar with a -- a
13· Dr. Lazzarino who was in Martinez?
14· · · ·A· · No.
15· · · ·Q· · Dr. White?
16· · · ·A· · No.
17· · · ·Q· · Dr. Lee?
18· · · ·A· · The -- no.· The only Dr. Lee that I'm familiar
19· with is in Sacramento.
20· · · ·Q· · Okay.· Dr. Dow?
21· · · ·A· · No.
22· · · ·Q· · Dr. Forest?
23· · · ·A· · Can you repeat that name?· I couldn't hear it.
24· · · ·Q· · Forest --
25· · · ·A· · No.


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·1· · · ·Q· · -- as in trees?· Okay.
·2· · · · · · Are you aware if Dr. Velez ever applied to be
·3· the chief of surgery?
·4· · · ·A· · Yes.· I'm aware that she applied for the chief
·5· of surgery.
·6· · · ·Q· · Okay.· When did that happen?
·7· · · ·A· · It was after the commencement of this action.
·8· It was pretty recently, but I don't know the exact time
·9· frame.
10· · · ·Q· · Okay.· Were you involved in the
11· decision-making process for that application?
12· · · ·A· · I only participated as a -- as an audience
13· member, if you may, in the interview process here at
14· Martinez, but I had no impact on the decision.
15· · · ·Q· · But you were in the interview process?
16· · · ·A· · Yes.· But it was unscored.· It was more of a
17· meet-and-greet type scenario.
18· · · ·Q· · Okay.· Who else was in the interview?
19· · · ·A· · There was as wide array of people that
20· participated in the interview.· I know that Dr. Anupam
21· Agarwal participated.· Ms. Janet Patterson participated
22· as our chief of speech and audiology.· I apologize, I
23· can't remember who else was in the -- the
24· meet-and-greet.
25· · · ·Q· · That's okay.


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·1· · · · · · So, are you aware of who were the decision
·2· makers?
·3· · · ·A· · Dr. Cahill, our chief of staff, Dr. William
·4· Cahill.
·5· · · ·Q· · Okay.· And did you have any discussions or
·6· correspondence with Dr. Cahill about this application
·7· that she made?
·8· · · ·A· · No.
·9· · · ·Q· · Okay.· Do you have any information regarding
10· the decision that Cahill made?
11· · · ·A· · No.
12· · · ·Q· · At the time that Ms. -- that Dr. Velez was the
13· site manager, was she the only physician with both
14· clinical and administrative responsibilities in NorCal?
15· · · ·A· · When she was site manager, there were three
16· physicians who were site managers:· Dr. Velez being one,
17· Dr. Ronald Chun being another, and Dr. Jane Addagatla.
18· Each of those three had dedicated administrative time
19· for the site manager-related responsibilities.
20· · · ·Q· · Okay.· Were there any other physicians that
21· had other administrative responsibilities other than
22· being site manager?
23· · · ·A· · All -- all --
24· · · · · · MS. SMITH:· Objection.
25· · · · · · THE WITNESS:· Oh.


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·1· · · · · · MS. SMITH:· Go ahead, Dr. Graham -- I mean,
·2· Mr. Graham.
·3· · · · · · THE WITNESS:· Okay.· All physicians have
·4· administrative time.· So let me provide some
·5· characterization on the word "administrative time" for
·6· you.
·7· · · · · · There are two types of administrative time.
·8· The first is administrative time for the physician to
·9· complete their documentation requirements associated
10· with clinical care.· All physicians have administrative
11· time to complete documentation.
12· · · · · · There's second type of administrative time
13· that we're talking about in this case, which was
14· administrative time associated with completing site
15· manager responsibilities, which included space
16· committee, managing space, planning and participating in
17· the planning process associated with construction
18· projects, as well as resolving engineering issues across
19· the campus.· So, for the latter, only Dr. Addagatla,
20· Dr. Chun, and Dr. Velez had time dedicated to that type
21· of administrative time for site manager-related
22· responsibilities.
23· BY MR. HOYER:
24· · · ·Q· · Okay.· That's very helpful.
25· · · · · · So, when it comes to planning . . . just


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·1· trying to figure out.· It -- it -- it would seem to me
·2· that -- that you would want to involve physicians on a
·3· planning committee.· Is that fair to say?
·4· · · · · · MS. SMITH:· Objection.
·5· · · · · · To the extent you understand his question
·6· [inaudible].
·7· · · · · · · · · (Reporter clarification)
·8· · · · · · MS. SMITH:· You can answer.
·9· · · · · · THE WITNESS:· Okay.· I do understand the
10· question.
11· · · · · · Certainly, physicians are a part of the
12· planning process.· In fact, when any type of planning is
13· undertaken, particularly construction projects, the
14· final design of that construction project is approved by
15· the clinical service chief that's going to be housed in
16· that location.· And so, for surgery service, for
17· example, it's Dr. Scott Fuller.· For primary care, it'd
18· be Dr. Lorrie Strohecker.· Whomever the clinical service
19· leader is for that particular area would have some final
20· approval authority in the overall construction design.
21· BY MR. HOYER:
22· · · ·Q· · Okay.· And, when you say area, is that a
23· particular type of clinical service or an area as in a
24· physical location?
25· · · ·A· · It depends on what -- what the planning --


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·1· what -- what we're planning to do.· So, if we're
·2· planning to build a new building and it's going to be
·3· house social work service, the chief of social work
·4· service has a -- an instrumental role to play in the
·5· planning for that type of building.· Certainly, planning
·6· is not a singular person's responsibility.· It's an
·7· organizational responsibility for which the executive
·8· team manages through our planning office in coordination
·9· with clinical services or administrative services,
10· whomever is going to occupy the space once it's built.
11· · · ·Q· · Okay.· Now, other than a site manager, are
12· there physicians that are on a planning committee in
13· your experience at NorCal?
14· · · ·A· · Dr. Cahill and -- as well as the deputy chief
15· of staff, play an important role in planning across the
16· health care system, and so they are part of our
17· executive management board.· Our executive management
18· board is typically the organization through which
19· planning is done.· We also have the chief of surgery
20· service on that board, the chief of primary care, the
21· chief of medicine service as well as other various
22· clinicians, including the chief of dental.
23· · · ·Q· · When the planning involves construction at a
24· particular site, are there physicians that are on the
25· planning committee for that?


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·1· · · ·A· · Yes.
·2· · · ·Q· · And how -- how is it decided which physician
·3· is -- is on the planning committee?
·4· · · ·A· · We typically rely on the clinical service
·5· chief to nominate and collect individuals to participate
·6· in planning activities.
·7· · · ·Q· · Okay.· Now, what we just discussed with
·8· respect to planning committees, is that also true for --
·9· I think you mentioned space committees and engineering
10· committees?
11· · · ·A· · Yes.
12· · · ·Q· · Okay.
13· · · ·A· · But for clarity, there are no engineering
14· committees.· That's a service line, but there are space
15· committees.
16· · · ·Q· · Okay.· And can you tell me space committees,
17· is that an ongoing thing, or is that an as-needed type
18· committee?
19· · · ·A· · Space committee is part of our overall
20· organizational governance structure, so it's an ongoing
21· monthly committee meeting that we have in Martinez.· So
22· each site has a space committee, and then we have a
23· corporate space committee for which I chair that reports
24· to our executive board.
25· · · ·Q· · And who is -- which physicians, if any, are on


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·1· the space committee at Martinez?
·2· · · · · · MS. SMITH:· Objection as [unintelligible] are
·3· you asking, Mr. Hoyer.
·4· · · · · · · · · (Reporter clarification)
·5· · · · · · MS. SMITH:· Objection as to what point in time
·6· you're talking about.
·7· · · · · · MR. HOYER:· Currently.
·8· · · · · · THE WITNESS:· Currently, I would have look at
·9· the exact charter to figure out which space committee
10· members are physicians.
11· BY MR. HOYER:
12· · · ·Q· · Okay.· Approximately how many people are on
13· the space committee at Martinez?
14· · · ·A· · I would -- again, would have to look at the
15· charter to assess how many people are on the committee.
16· · · ·Q· · Can you give me an approximation?· Is it more
17· than ten, more than 25?
18· · · ·A· · I would say between 10 and 25.
19· · · ·Q· · Very good.
20· · · · · · Now, when you gave her an overall outstanding
21· review in her job as site manager, did you consult other
22· people in arriving at that assessment?
23· · · ·A· · No.· And I would like to clarify the
24· characterization of the word "job."· So Dr. Velez was
25· not under an official position description for the site


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·1· manager, so I would classify her responsibilities as
·2· site manager as a role, not a job.
·3· · · ·Q· · Okay, and did you review any documents in
·4· arriving at her overall outstanding review in the site
·5· manager role?
·6· · · ·A· · No.· My review is based on my own
·7· observations.· Her -- her outstanding review was based
·8· on my own observations as well as her self-assessment
·9· that -- that employees routinely provide to their
10· supervisor.
11· · · ·Q· · In reviewing her self-assessment, did you come
12· to a determination about whether her self-assessment was
13· accurate or not?
14· · · ·A· · Yes, her self-assessment was accurate.· I have
15· no reason to question.
16· · · ·Q· · Okay.· And, in your experience with her, would
17· you characterize her as an honest person?
18· · · ·A· · Yes.
19· · · · · · MS. SMITH:· Objection.
20· · · · · · THE WITNESS:· Did you say something, Valerie?
21· · · · · · MS. SMITH:· I objected to the question, but
22· your answer stands.
23· · · · · · THE WITNESS:· Okay.
24· · · · · · · · (Discussion off the record to
25· · · · · · · · address audio difficulties)


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·1· · · · · · MR. HOYER:· Okay.· Back on the record.
·2· · · ·Q· ·(By Mr. Hoyer)· Have you had in your
·3· opportunity -- have you had an opportunity to assess
·4· other site managers in NorCal?
·5· · · ·A· · I'm responsible for the site managers at
·6· Oakland; Mare Island, which is also Vallejo; and
·7· Fairfield.· So yes.
·8· · · ·Q· · Okay, and -- okay.· And how is Dr. Velez's
·9· performance compared to the other site managers?
10· · · ·A· · I would say that it's on par with other site
11· managers.· Certainly, it would -- it did not exceed
12· other site managers, but I have a very high-performing
13· group of site managers.
14· · · ·Q· · Now, you described the site manager role as a
15· role rather than a job for Dr. Velez.· Is that true for
16· you too?· Is -- is the site manager a role for you
17· rather than a job?
18· · · ·A· · So let me clarify the role of site manager.
19· I'm -- I'm not under a site manager position
20· description.· We do not have a site manager position
21· description for the Martinez location.· Part of my
22· official position description is the overall day-to-day
23· operations for the Martinez campus.
24· · · ·Q· · And is that something that site managers do at
25· other locations?


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·1· · · ·A· · It's what site managers do when an associate
·2· director is not on campus.
·3· · · ·Q· · Okay.· And there's an associate director in
·4· Sacramento, which obviates the need for a site manager
·5· there?
·6· · · ·A· · Correct.
·7· · · ·Q· · Okay.· Who is the associate director there?
·8· · · ·A· · John Hinson.
·9· · · ·Q· · Okay.· And, basically, his job is what your
10· job is?
11· · · ·A· · We are similar.· He supervises different
12· administrative services, of course, than those that I
13· supervise.· I -- I can name them, but he -- it's all
14· materially different services that he -- that he
15· supervises.· He also supervises a greater number of site
16· managers.· He has responsibility for the site managers
17· at McClellan; Yuba City; Chico; Redding, which is a
18· joint site manager with Yreka.· I think that's
19· everybody.
20· · · ·Q· · Okay.· With respect to the particular site, is
21· his job like your job?
22· · · ·A· · Yes.
23· · · ·Q· · Okay.· So there's not really any differences?
24· · · ·A· · At Mather he's responsible for the day-to-day
25· operations of the Mather campus.


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·1· · · ·Q· · Okay.· Now, in her role as site manager, does
·2· Dr. Velez have any support staff?
·3· · · ·A· · At the time, she had a secretary, who
·4· subsequently retired, and she had a program analyst that
·5· supported the site manager's office.
·6· · · ·Q· · Now, is the reason she had a secretary the
·7· fact that she was in the site manager role?
·8· · · ·A· · I can't speculate the reasoning for why she
·9· had a secretary, because at the time that those
10· positions were given to her, I was not an employee VA
11· Northern California Health Care System.
12· · · · · · · · · (Reporter clarification)
13· · · · · · THE WITNESS:· I was not an employee at
14· Northern California Health Care System.
15· BY MR. HOYER:
16· · · ·Q· · Do other physicians routinely have secretaries
17· in NorCal?
18· · · ·A· · Only service-chief-level physicians.
19· · · ·Q· · Okay.· And what about program analyst; is that
20· a position that supports the site manager role as
21· opposed to just the physician role?
22· · · ·A· · No other site manager has a program analyst.
23· I'm not entirely sure what the intent behind that.
24· Again, I can't speculate on what the purpose of that
25· role was, because it was -- it was given to Dr. Velez


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·1· prior to my arrival at VA Northern California.
·2· · · ·Q· · Okay.· What happened to the program analyst
·3· once Dr. Velez ceased being a site manager?
·4· · · ·A· · In looking at the program analyst's
·5· responsibilities, they were really looking at clinic
·6· graphics to determine where there was capacity, which is
·7· responsibility --
·8· · · · · · · · · (Reporter clarification)
·9· · · · · · THE WITNESS:· -- clinic graphics to really
10· determine where we needed to make more appointments
11· available to -- that's really a responsibility of the
12· group practice management office, and so the program
13· analyst position was redirected to the group practice
14· management office.
15· BY MR. HOYER:
16· · · ·Q· · And so I -- I guess, then is it clear -- I'm
17· not sure whether you testified to this.· So did the
18· program analyst position disappear, or was it
19· reassigned?
20· · · ·A· · It was reassigned to the group practice
21· management office.· And the person that -- that held
22· that role currently holds that role.
23· · · ·Q· · And when -- when was that decision made to
24· reassign?
25· · · ·A· · Within the past year.


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·1· · · ·Q· · And was that related to the decision to remove
·2· the site manager role from Dr. Velez?
·3· · · ·A· · I'm not sure I understand your question.
·4· · · ·Q· · Well, at some point, the -- the -- the site
·5· manager role was removed from Dr. Velez?
·6· · · ·A· · Yes.· The -- the -- we had a change of
·7· assignment in August 2018 from Dr. Velez being a site --
·8· in the site manager role.· The -- the program analyst
·9· for the group practice manager was -- was reassigned
10· within the past year, so it was well after the
11· reassignment of duties for Dr. Velez.
12· · · ·Q· · Okay.in your mind, then, the two aren't
13· connected.
14· · · ·A· · They were not connected.
15· · · ·Q· · Okay, great.· And when did Dr. Velez's
16· secretary retire?
17· · · ·A· · I can't speculate on the exact date.· I can't
18· remember an exact date for that, without looking in our
19· systems.
20· · · ·Q· · Do you remember when it was before -- if it
21· was before or after the site manager role was removed?
22· · · ·A· · I honestly can't remember.
23· · · ·Q· · Okay.· Was there any consideration for hiring
24· a replacement once the secretary retired?
25· · · ·A· · No.


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·1· · · ·Q· · And why is that?
·2· · · ·A· · Because site managers -- for multiple reasons.
·3· First, that site managers -- no other site manager has a
·4· secretary; and, secondly, no assistant chief of a
·5· service line -- so Dr. Velez was an assistant chief for
·6· surgical service role.· No assistant chief also has a
·7· secretary.· In fact, very few clinical service chiefs
·8· have a secretary directly.
·9· · · ·Q· · And are you aware of anyone who assumed the
10· duties of the secretary that retired?
11· · · ·A· · No.
12· · · ·Q· · Now, has anyone ever complained to you about
13· Dr. Hundahl's behavior or treatment?
14· · · ·A· · No --
15· · · · · · MS. SMITH:· Objection.
16· · · · · · Go ahead.
17· · · · · · THE WITNESS:· No.
18· BY MR. HOYER:
19· · · ·Q· · Have you ever heard that there were complaints
20· made about his behavior?
21· · · ·A· · No.
22· · · ·Q· · Did you, at some point, change Dr. Velez's
23· supervisor to be Dr. Hundahl?
24· · · ·A· · No, I did not change her supervisor.· So I
25· think it's important to characterize maybe the words of


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·1· "change of supervisor."· Dr. Hundahl was always
·2· Dr. Velez's supervisor at a clinic -- in a clinical
·3· role.· I was never her supervisor as a clinical role.
·4· It would be unethical for me to be a supervisor for a
·5· physician as a nonphysician, and so she reported to
·6· Dr. Hundahl in her clinical role.· She reported to me in
·7· her role as site manager.· So, when I did the change of
·8· assignment in August -- on August 20th of 2018, she no
·9· longer reported to me in any type of role, but she
10· continued to report to Dr. Hundahl in her clinical role
11· in surgical service.
12· · · ·Q· · Okay.· Does Dr. Addagatla report to you still?
13· · · ·A· · Dr. Addagatla has never reported to me.· She
14· reports in her site manager role to Mr. Hinson, who is
15· our associate director for the Sacramento valley
16· division, and in her clinical role, she reports to --
17· through the primary care leadership chain.
18· · · ·Q· · Okay.· So, at some point, Dr. Velez reported
19· to you, but you did not view that as you being her
20· supervisor in that role; is that correct?
21· · · · · · MS. SMITH:· Objection.
22· · · · · · THE WITNESS:· No, that's not correct.· She --
23· she was -- she reported to me in the site manager role.
24· She did not report to me in her surgery role.· That's
25· where she reported to Dr. Hundahl.· So, when the change


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·1· of assignment happened, removing those site manager
·2· responsibilities, that's whenever she stopped -- that's
·3· when she stopped reporting to me.
·4· BY MR. HOYER:
·5· · · ·Q· · Yeah, I guess, my question is whether -- when
·6· she was reporting to you as a site manager, did you view
·7· yourself as being her supervisor for that site manager
·8· role?
·9· · · ·A· · Yes.
10· · · ·Q· · Okay.· Did Dr. Velez ever complain to you
11· about Dr. Hundahl?
12· · · ·A· · I don't recall any complaints other than some
13· concerns that Dr. Velez raised in the course of
14· mediation, for which we -- we both signed a
15· nondisclosure agreement, so I'm not sure how that
16· impacts this testimony, but we did sign a nondisclosure
17· agreement for which she did relay some concerns in that
18· confidential mediation.
19· · · ·Q· · And was this a mediation that -- well, strike
20· that.
21· · · · · · Ms. Do, how are you doing?· Do you need a
22· break?
23· · · · · · THE REPORTER:· I'm doing okay.· Thank you.
24· · · · · · MR. HOYER:· Okay.
25· · · ·Q· ·(By Mr. Hoyer)· Do you chair the space


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·1· committee at Martinez?
·2· · · ·A· · No.
·3· · · ·Q· · Who does?
·4· · · ·A· · It's -- I have delegated that to the
·5· administrative officer for the associate director's
·6· office.
·7· · · ·Q· · Okay.· Now, do service chiefs have other
·8· administrative staff other than secretaries?
·9· · · · · · MS. SMITH:· Objection.
10· · · · · · THE WITNESS:· I mean, I can't speak generally.
11· Some do.· Some don't.· I mean, if you have a specific
12· service that you would like to inquiry about, I could --
13· I could probably answer.
14· BY MR. HOYER:
15· · · ·Q· · Well, what sorts of administrative staff are
16· you aware of that support service chiefs?
17· · · ·A· · Most of the clinical service chiefs have
18· program support assistants that support their -- their
19· office as well as an administrative officer that
20· supports the entire service.· So I'm not aware of any
21· service chief that has administrative support that
22· supports them directly.· The administrative support is
23· designed to support the entire service.
24· · · ·Q· · And the administrative support, do they report
25· to the -- the -- the chief of staff of that service?


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·1· · · ·A· · So there's only one chief of staff, and that's
·2· Dr. Cahill.· The service chief would be the person who
·3· those administrative staff may or may not report to.
·4· · · · · · Each service is set up a bit differently, so
·5· some service chiefs have direct reports that are the
·6· administrative staff.· Others have the administrative
·7· staff going to maybe the assistant chief of the surgery.
·8· It's hard to say.· It's -- it [sic] really based upon
·9· the services organizational chart.
10· · · ·Q· · Okay.· Now, when Dr. Velez was the site
11· manager, could you give me an estimate of how many hours
12· per week she spent in that role?
13· · · ·A· · No.
14· · · ·Q· · Okay.· All right.· Let's see if I can share a
15· document.· Take me a minute to pull it up.
16· · · · · · · · ·(Discussion off the record)
17· BY MR. HOYER:
18· · · ·Q· · Okay.· Mr. Graham, can you see Exhibit 1?
19· · · ·A· · I can.
20· · · ·Q· · -- which I'm marking Exhibit 1.
21· · · · · · · · · · (Exhibit 1 marked)
22· BY MR. HOYER:
23· · · ·Q· · Okay.· This is a memo dated August 20, 2018,
24· from you to Dr. Velez.· Do you recognize this document?
25· · · ·A· · I do.


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·1· · · ·Q· · Okay.· And I'll just scroll down a little bit
·2· so that you can review it and -- and just tell me when
·3· you're done reviewing it.
·4· · · ·A· · I'm done.
·5· · · ·Q· · Okay.· I'm just pulling it up.
·6· · · · · · Now, in the second paragraph, you say:
·7· · · · · · · · "The decision to change your site
·8· · · · · · management responsibilities was made after
·9· · · · · · careful consideration of the role of the
10· · · · · · senior executive on the Martinez campus."
11· · · · · · Who was involved in that careful
12· consideration?
13· · · ·A· · Myself.
14· · · ·Q· · Anyone else?
15· · · ·A· · No.
16· · · ·Q· · Okay.· And what did you do -- what was
17· involved in that careful consideration?
18· · · ·A· · Really, the decision was based on duplication
19· of -- of assigned responsibilities.· It's part of my
20· position description to be responsible for the overall
21· site management responsibilities for the Martinez
22· campus; and to have a clinician doing that at a much
23· higher rate of -- of expense for the system would not be
24· a good use of taxpayer dollars; and so, also, there was
25· additional issues that needed to be addressed within


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·1· surgical service for which Dr. Velez was responsible
·2· for, including wait times, at the time, for new and
·3· established patients.· That was part of that overall
·4· consideration of the role.
·5· · · ·Q· · Okay, the wait times, was -- what were the
·6· wait times for vascular surgery, which is what she does?
·7· · · ·A· · I --
·8· · · · · · MS. SMITH:· Objection.
·9· · · · · · THE WITNESS:· I would have to review the wait
10· time data in order to -- to answer that question.
11· BY MR. HOYER:
12· · · ·Q· · Okay.· Do you -- do you remember whether the
13· vascular surgery wait times went into your decision to
14· remove her from the site manager role?
15· · · ·A· · I can't speculate if there were without
16· looking at that data.
17· · · ·Q· · I'm just wondering if, as you sit here today,
18· you remember whether that vascular wait time was one of
19· the consideration in removing the -- the site manager
20· role from her.
21· · · ·A· · No.· As the -- I did not drill down
22· specifically the vascular surgeon.· So Dr. Velez -- I
23· think it's probably important for me to clarify her
24· roles a little bit further, if I may.
25· · · ·Q· · Okay.


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·1· · · ·A· · First, she is a vascular surgeon, so she
·2· performs vascular surgeries and sees patients in the
·3· vascular surgery clinic.· That's one of her roles.· She
·4· is also the assistant chief of surgery.· In that role,
·5· she has overall programmatic responsibility for surgical
·6· service.· So whenever I considered wait times, I
·7· considered overall surgical service wait times for which
·8· she was responsible for in an executive role for surgery
·9· service and, then she had her site management
10· responsibilities.
11· · · ·Q· · So it was your understanding that freeing her
12· from the site manager role would open up some time for
13· her as -- in her executive role, to deal with the wait
14· time -- the surgery wait time issue?
15· · · ·A· · It would open up both time in her executive
16· role as -- as an assistant chief of surgical service to
17· assist with --
18· · · · · · · · · (Reporter clarification)
19· · · · · · THE WITNESS:· -- as chief -- assistant chief
20· of surgery, so she could focus in on more of the
21· operational responsibility associated with surgical
22· service.· In addition, it would also free up some of her
23· time to perform clinical responsibilities in vascular
24· surgery clinic, including documentation of her workload
25· in CPRS for which is Dr. Velez oftentimes is a bit late


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·1· on.
·2· BY MR. HOYER:
·3· · · ·Q· · And so the documentation related to CPRS.· How
·4· many hours per week does that involve?
·5· · · ·A· · I can't speculate, as I'm not a physician.
·6· · · ·Q· · Okay.· And what sorts of things did you
·7· anticipate she would be able to do as assistant chief of
·8· surgery to reduce the wait time, surgery wait times, in
·9· areas other than vascular surgery?
10· · · ·A· · Again, this is only one of the many items that
11· we -- that I considered at -- in -- in consideration
12· of -- of changing her assignment as a site manager.· So,
13· I don't have specific expectations as her role as
14· assistant chief.· That would be set by the chief of
15· surgery.· At the time of this action, it was Dr. Scott
16· Hundahl.
17· · · ·Q· · Okay.· Did Dr. Hundahl -- was he involved in
18· the decision to remove her site manager role?
19· · · ·A· · He was not.
20· · · ·Q· · Did Dr. Hundahl tell you, prior to the removal
21· of her site manager role, that he wanted her to do
22· anything in term -- ending in particular in terms of
23· reducing surgery wait times?
24· · · · · · · · · (Reporter clarification)
25· BY MR. HOYER:


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·1· · · ·Q· · Anything in particular in terms of reducing
·2· surgery wait times.
·3· · · ·A· · And the answer was no.
·4· · · ·Q· · Now . . . so is there a reason that you didn't
·5· mention the surgery wait times as one of the motivations
·6· to remove her role in the memo here?
·7· · · ·A· · Because it's a very minor piece of the overall
·8· reasons.· As I mentioned before, the -- the largest
·9· reason is that operational engineering/planning type
10· issues are responsibilities of administrative
11· professionals, and so we pay Dr. Velez over $300,000 a
12· year to provide clinical services to veterans.· That
13· needs to be the priority of our clinicians, is to
14· provide care to veterans; whereas those administrative
15· responsibilities can be handled at a much lower salary
16· rate for an administrative staff member as well as
17· the -- the -- secondly, is that having a GS-15 executive
18· on campus doing the exact same thing that Dr. Velez is
19· doing in terms of administrative responsibilities
20· associated with site manager was a duplication of effort
21· and, frankly, a waste of government resources.
22· · · ·Q· · Okay, did you assess how much of a -- a waste
23· of government resources it was?
24· · · ·A· · I did not calculate specific calculations, no.
25· · · ·Q· · In fact, you don't know anything about how


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·1· many hours a week she spent in her site manager role,
·2· correct?
·3· · · ·A· · No.
·4· · · ·Q· · And you don't know whether she was able to
·5· devote any more time at all to her clinical services
·6· once her -- the site manager role was removed, correct?
·7· · · ·A· · I don't know how she uses her time today.
·8· · · · · · · · · (Reporter clarification)
·9· · · · · · THE WITNESS:· How she uses her time today.
10· BY MR. HOYER:
11· · · ·Q· · Now, is the Martinez campus similar in size to
12· the Sacramento campus?
13· · · ·A· · No.· It's significantly smaller.
14· · · ·Q· · Okay.· Like, how much smaller?
15· · · · · · MS. SMITH:· Objection.
16· · · · · · THE WITNESS:· I can't speculate on the exact
17· numbers.
18· BY MR. HOYER:
19· · · ·Q· · Well, not -- just give me an estimate.             I
20· don't need an exact number.
21· · · · · · MS. SMITH:· Objection.
22· · · · · · THE WITNESS:· I still can't speculate on even
23· an estimate.
24· BY MR. HOYER:
25· · · ·Q· · Okay.· Did -- did you have any discussions


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·1· with Dr. Hundahl about removing the site manager role
·2· from Dr. Velez prior to this memo?
·3· · · ·A· · Before I answer that question, I'm going to
·4· disagree with the characterization of the word
·5· "removal."· Dr. Velez was not removed from a site
·6· manager role, because a site manager role did not exist
·7· on the Martinez campus.· Rather she had assumed site
·8· management responsibilities, but she was never under a
·9· formal position description for a site manager.· She
10· assumed those responsibilities prior to my arrival, and
11· subsequent to that, whenever I issued the memorandum, it
12· was a change of assignment, not a removal action.· So I
13· just want to characterize the word "removal" and what
14· that means, because in federal service, that means that
15· you are removed from federal service; and Dr. Velez's
16· pay nor her -- her employment was impacted as a result
17· of this change of assignment.
18· · · · · · And could you repeat --
19· · · ·Q· · Yeah, how--?
20· · · · · · Well, I think you answered it, in a way.
21· · · · · · So, did you have any discussions with
22· Dr. Hundahl, prior -- about the change in assignment for
23· Dr. Velez prior to issuing this memo?
24· · · ·A· · No.
25· · · ·Q· · Okay.· Now, it says down here, in the third


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·1· paragraph, that "Dr. Hundahl will" -- "will discuss your
·2· full assignment with you."
·3· · · · · · So what did you do to -- to -- to -- to make
·4· Dr. Hundahl aware of what you said he was going to be
·5· doing?
·6· · · ·A· · After completing this change of assignment
·7· memorandum, I notified Dr. Hundahl that I was doing a
·8· change of assignment in Dr. Velez's responsibilities
·9· associated with site manager and that she would not have
10· administrative time to complete site manager
11· responsibilities and that she would be fully reporting
12· to him.
13· · · ·Q· · And what was his response, if any?
14· · · ·A· · I can't recall that he had a response.
15· · · ·Q· · Now, you said that Dr. Velez assumed site
16· manager responsibilities, but you don't have any idea
17· of -- of how she assumed those responsibilities?
18· · · ·A· · I do not.· It occurred well before my arrival
19· at VA Northern California Health Care System.
20· · · ·Q· · Now, in the second paragraph, you say,
21· "Additionally, we were unable to identify one health
22· care system across the [VA]," et cetera.
23· · · · · · Who is the "we" in that sentence?
24· · · ·A· · "We" should have been myself.
25· · · ·Q· · Okay.· And the last paragraph, you say, "If


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·1· you have any questions, please address them with
·2· Dr. Hundahl."
·3· · · · · · But was Dr. Hundahl aware of the rationale for
·4· removing or taking away the assignment?· I'm not sure
·5· about the -- the wording that you want.
·6· · · ·A· · Yeah, the wording -- the wording here was any
·7· questions about her full assignment with surgical
·8· service, those should be addressed with Dr. Hundahl.
·9· · · ·Q· · What about the decision to remove or -- or
10· change the assignment?
11· · · ·A· · There is a formal process for the change of
12· assignment, and that was through the grievance process,
13· both the informal and formal grievance process, which is
14· Dr. Velez was made aware of and actually followed.
15· · · ·Q· · Okay.· Now, did you discuss the change in
16· assignment prior to this memo with Mr. Stockwell?
17· · · ·A· · No.
18· · · ·Q· · Did you discuss it with Mr. -- or Dr. Cahill?
19· · · ·A· · No.
20· · · · · · Let me clarify on the last one.· I did not
21· discuss with Dr. Cahill prior to the issuance of this
22· memorandum.
23· · · ·Q· · Right.· And you didn't have any correspondence
24· with either of those two prior to the -- the issuance of
25· this memorandum.


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·1· · · ·A· · No.
·2· · · ·Q· · Okay.· All right.· And so, basically, you made
·3· this decision by yourself without consulting other
·4· people, correct?
·5· · · ·A· · As the site manager responsibility is a direct
·6· report to the associate director, yes.· It's within my
·7· purview, as a senior executive, to make decisions about
·8· the positions that report directly to me.· It's part of
·9· management right and responsibility.
10· · · ·Q· · Okay.· And have you told me now everything
11· that went into your consideration about the decision?
12· · · ·A· · Yes, I believe so.
13· · · ·Q· · Okay.· See if I can do this here.· Let's mark
14· this as Exhibit 2.· It's an e-mail from Christopher
15· Howell to Timothy Graham dated August 3, 2018, change of
16· assignment memo.· Let's see.
17· · · · · · · · · · (Exhibit 2 marked)
18· BY MR. HOYER:
19· · · ·Q· · So here's the memo that's, I guess, an
20· attachment.· This was produced by your attorney.
21· · · · · · And, all right, have you had a chance to
22· review it?
23· · · ·A· · I recall sending the initial e-mails, but I
24· have not had a chance to review it until now.
25· · · ·Q· · Okay.· Well, is -- has [sic] your current


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·1· review of it adequate, or do -- do you want me to scroll
·2· down?
·3· · · ·A· · No, it's adequate.
·4· · · ·Q· · Okay.· So you sent, on July 30, the draft memo
·5· to Danielle Kehler and Christopher Howell in HR.· And
·6· what was your purpose in sending the draft memo to these
·7· people?
·8· · · ·A· · HR is the consulting body for all types of
·9· employee relations matters for the health care system,
10· and so as the experts in employee relations and labor
11· relations, I wanted their review of the memorandum prior
12· to issuance, which is customary for a supervisor to do.
13· · · ·Q· · Customary in what instances?
14· · · ·A· · Customary in any instances where you're going
15· to take an action which could be perceived by a -- as an
16· employee -- any action that could be perceived as -- as
17· negative by an employee.· So anytime we do a change of
18· duties, a change in assignment, any type of disciplinary
19· action certainly, but this is not a disciplinary action,
20· those are all reviewed by human resources prior to
21· issuances to the employee.
22· · · ·Q· · Okay.· So, in this e-mail exchange, it looks
23· to me like (and correct me if I'm wrong), Mr. Howell
24· wrote you back and said:
25· · · · · · · · "Looks good to me.· I added the last


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·1· · · · · · sentence to paragraph 1 since it['s] the pay
·2· · · · · · that determines if it['s] an adverse action or
·3· · · · · · not."
·4· · · · · · Do you see that?
·5· · · ·A· · Yes.
·6· · · ·Q· · And did you ask him anything about whether
·7· this could be perceived as an adverse action?
·8· · · ·A· · I did not.
·9· · · ·Q· · Okay.· So he just volunteered that, to your
10· mind?
11· · · ·A· · I can't speculate on why he added that in.
12· But he is the -- the human resources expert for our
13· health care system.
14· · · ·Q· · Okay.· Was there any significance to you in
15· whether this was an adverse action or not?
16· · · · · · MS. SMITH:· Objection.
17· · · · · · THE WITNESS:· As I stated, I -- I can't
18· speculate of whether or not it was an adverse action.              I
19· did not see it as an adverse action, but certainly he
20· looked at it with a different technical lens than I
21· looked at it with.
22· BY MR. HOYER:
23· · · ·Q· · Well, would it have been a concern to you if
24· it were, in fact, an adverse action?
25· · · · · · MS. SMITH:· Objection.


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·1· · · · · · THE WITNESS:· Did you want me to respond,
·2· Valerie?
·3· · · · · · MS. SMITH:· I -- I don't understand the
·4· question, but to the extent you understand the question,
·5· you can answer.
·6· · · · · · THE WITNESS:· Can you repeat the question
·7· again, Mr. Hoyer?
·8· BY MR. HOYER:
·9· · · ·Q· · Would it have been a concern to you if it were
10· perceived as an adverse action?
11· · · ·A· · No.
12· · · ·Q· · Okay.· Prior to sending this to -- to
13· Mr. Howell, had you done anything to determine whether
14· this action would affect her pay?
15· · · ·A· · Yes.· I already asked Mr. Howell of whether or
16· not it was impact her pay.· But she was not compensated
17· for those site manager responsibilities.
18· · · ·Q· · And --
19· · · ·A· · Again because she was not under a formal
20· position description for site manager.
21· · · ·Q· · So, it was Mr. Howell that determined whether
22· she was paid extra or not for the site manager role?
23· · · · · · MS. SMITH:· Objection.
24· BY MR. HOYER:
25· · · ·Q· · Is that right?


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·1· · · ·A· · I'm not sure that I understand your question
·2· either.
·3· · · ·Q· · Who determined that she wasn't paid anything
·4· for her site manager role?
·5· · · ·A· · Her -- her pay is based upon her -- her
·6· physician status and whether or not she is a supervisor,
·7· and she is supervisory physician, so she's paid a Tier 2
·8· physician rate for being a supervisory physician.
·9· · · ·Q· · Okay.· My question was, Who determined whether
10· she was paid anything or not for her -- her site manager
11· role?
12· · · ·A· · So, she is paid based on her physician
13· responsibilities.· You're not paid for roles that you
14· are not formally assigned to.· So, she was never
15· formally assigned to a site manager role, so therefore
16· she was not compensated.· If she were -- I can speculate
17· that if she were, she would be paid equivalent to a
18· GS-13, which was significantly and far less than what
19· she makes as a -- as a clinician if she were in a site
20· manager role at another clinic on a full-time basis.
21· But she never compensated as a site manager, because she
22· was never in a site manager role.· She had assumed those
23· responsibilities voluntarily.
24· · · ·Q· · So it's -- it sounds like you did the research
25· necessary to determine that she wasn't being paid


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·1· anything for the site manager duties.
·2· · · ·A· · Yes.· I consulted with HR to determine whether
·3· or not she was being compensated.
·4· · · ·Q· · Mr. Howell?
·5· · · ·A· · Yes.
·6· · · ·Q· · Okay.· And are you aware of what Mr. Howell
·7· Looked at to determine what she wasn't being paid
·8· anything, because there was no formal site manager role
·9· assigned to her?
10· · · ·A· · I'm not aware of what he looked at.· I can't
11· speculate on what he reviewed.
12· · · ·Q· · Okay.· Do you know whether Dr. Addagatla is
13· paid anything for her site manager role?
14· · · ·A· · I'm not aware.
15· · · ·Q· · Would -- would that be something that you
16· would be aware of?
17· · · ·A· · No.· Dr. Addagatla does not report to me.
18· · · ·Q· · Okay.· What about Dr. Chun; do you know
19· whether he was paid anything for his site manage --
20· · · ·A· · I was not --
21· · · · · · · · · (Reporter clarification)
22· BY MR. HOYER:
23· · · ·Q· · Sure.· Do you -- what about Dr. Chun; do you
24· know whether he was paid anything for his site manager
25· role?


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·1· · · ·A· · Dr. Chun was not compensated for a site
·2· manager role either.
·3· · · ·Q· · Okay.· All right, see if I can pull up another
·4· document.
·5· · · ·A· · If possible, I would like to request a bio
·6· break.
·7· · · ·Q· · Oh, sure.
·8· · · · · · MS. SMITH:· I was going to request the same
·9· thing, Mr. Graham.
10· · · · · · MR. HOYER:· So, at some point, we should break
11· for lunch.· I don't know whether this is the appropriate
12· time to break for lunch.
13· · · · · · Dr. -- Mr. Graham, are you hungry?
14· · · · · · THE WITNESS:· I can continue going, or I'm
15· fine breaking.· Either way.· I don't get lunch most
16· days, so I'm good.
17· · · · · · MR. HOYER:· Okay.· I'd like to eat lunch.· I'm
18· sure you'll appreciate if I do eat lunch.· So, why don't
19· we break now and come back at 1 o'clock?
20· · · · · · MS. SMITH:· That's fine, I'm available.
21· Mr. Graham?
22· · · · · · THE WITNESS:· That's fine with me.
23· · · · · · MS. SMITH:· Okay.
24· · · · · · · · · · · · · ·--oOo--
25


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·1· · · · · · · · (LUNCHEON RECESS TAKEN FROM
·2· · · · · · · · 12:10 P.M. TO 1:03 p.m.)
·3· · · · · · · · · · · · · ·--oOo--
·4· · · · · · MR. HOYER:· All right, back on the record.
·5· · · · · · · · · · EXAMINATION (Resumed)
·6· BY MR. HOYER:
·7· · · ·Q· · So the -- not sure whether you told me this
·8· or -- or not yet, but I think you mentioned that the
·9· site manager role that Dr. Velez had assumed -- was
10· there a position description for that role?
11· · · ·A· · There was no position description for a role
12· for site manager for Martinez.
13· · · ·Q· · Okay.· But in other locations, there was a
14· site manager position description?
15· · · ·A· · There was a site manager position
16· description -- under my -- under my supervisory
17· authority, there was a site manager position description
18· for the joint site manager at Mare Island and Fairfield,
19· which the one site manager covers both of those
20· locations and that there was no site manager position
21· description for either Martinez or Oakland.
22· · · ·Q· · Okay.· The duties of the Oakland and Martinez
23· site manager role, did they differ significantly?
24· · · ·A· · No.· They were -- they -- because neither had
25· a site manager position description, there were no


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·1· outlined duties associated with those roles.· So they --
·2· like, Dr. Velez's performance was based upon the
·3· performance criteria that was developed by the prior
·4· associate detector, which was acting associate director
·5· at the time.· Chris Howell was the acting associate
·6· director, as also the chief of HR.· He developed a
·7· position expectations and a performance plan for her,
·8· and then I evaluated her based on those performance
·9· expectations at the end of fiscal year 2017.
10· · · ·Q· · And did you have -- was there position
11· expectations developed for the Oakland site manager
12· role?
13· · · ·A· · He -- Dr. Chun was under the same position,
14· the same performance expectations that Dr. Velez was
15· under.
16· · · ·Q· · Okay.· Now, do physicians have position
17· description?
18· · · ·A· · No.
19· · · ·Q· · Okay.· Now, who is your immediate supervisor?
20· · · ·A· · David Stockwell, Medical Center Director.
21· · · ·Q· · Okay.· And was he your supervisor at the time
22· that the site manager role was reassigned away from
23· Dr. Velez?
24· · · ·A· · Yes.
25· · · ·Q· · Okay.· And how often did -- do you communicate


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·1· with Mr. Stockwell?
·2· · · ·A· · I -- usually, at least once per week where
·3· it's direct one-on-one communication.· I communicate
·4· with him every day through meetings and -- and such.
·5· · · ·Q· · Okay.· And are there aspects of your job that
·6· you are expected to communicate with him about?
·7· · · ·A· · Typically, yes.· So, finance, for example,
·8· the -- the budget is all my responsibility, so he's
·9· often interested to see where we're at organizationally
10· in terms of our finances.· There's other various topics
11· that he may want to talk to me about, because of the --
12· the role that I have in private sector.
13· · · · · · In a private-sector hospital, my role would be
14· chief operating officer, so, certainly, as the CEO of an
15· organization, he's going to talk to a chief operating
16· officer about various issues that come into his mind, if
17· you may.
18· · · ·Q· · So, and you [unintelligible] --
19· · · · · · · · · (Reporter clarification)
20· · · · · · MR. HOYER:· Oh, sorry about that.
21· · · ·Q· ·(By Mr. Hoyer)· So, you have worked with him
22· several years, and -- and you're -- the amount of
23· communication that you have with him typically on a
24· day-to-day basis hasn't changed since 2018; is that
25· correct?


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·1· · · ·A· · No.
·2· · · ·Q· · And so you've developed an -- an understanding
·3· of what sorts of issues would he expect you to
·4· communicate with him about.· Correct?
·5· · · ·A· · Absolutely.· Yes.
·6· · · ·Q· · And so you -- I think you mentioned finance,
·7· budgetory -- budgetary issues.· You understand him to
·8· expect you to communicate about that.
·9· · · · · · What's -- what other types of issues is it
10· your understanding he would expect you to communicate
11· with him about?
12· · · ·A· · Really, it comes down to any major issue that
13· is -- that the health care system is struggling with.
14· So, for example, if -- if there is a flood on either of
15· the campuses here in the East Bay, I would -- I would
16· communicate that and what the impact might be on
17· clinical services.· For example, today one of our
18· sterilizers went down, so certainly that's something
19· that I would communicate with him about, because that
20· could directly impact the operating room in a negative
21· manner, so making him aware of what the issue is, what
22· actions were taken to mitigate the -- the risks
23· associated with that issue and what's the timeline for
24· resolution of that issue.
25· · · ·Q· · Okay.· What about personnel issues like hiring


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·1· and firing?
·2· · · ·A· · Generally, he is not the type of manager who
·3· would expect that I would get his approval on hiring of
·4· any of my positions that directly report to me.            I
·5· generally make those decisions myself, and then those
·6· decisions would go to our position management board for
·7· final approval or concurrence, if you may.
·8· · · · · · As far as terminating an employee, certainly,
·9· I do not talk to him about any type of termination or
10· removal or adverse action against an employee, as that
11· would constitute ex parte communications.· And so, as
12· the secondary official who would make the ultimate
13· determination, if I were taking a disciplinary action,
14· my -- my proposal would be just that, a proposed
15· disciplinary action, and then he would be the final
16· decision-making.· And so having that conversation with
17· him in advance would be ex parte communications and
18· could ultimately lead into the court finding that we
19· took inappropriate personnel actions.
20· · · ·Q· · Okay, and would he expect you to communicate a
21· recommendation with respect to any adverse action that
22· you're proposing?
23· · · · · · MS. SMITH:· Objection.
24· BY MR. HOYER:
25· · · ·Q· · You can answer.


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·1· · · ·A· · Certainly, with the -- the -- the government
·2· process is that the -- the person who directly
·3· supervises the employee always takes the proposed
·4· disciplinary action that would result in an adverse
·5· action; and so then the -- the proposal, depending on
·6· what level within the organization the -- the employee
·7· is at, would then go to a deciding official.· In the
·8· case of my direct reports, Mr. Stockwell would always be
·9· the deciding official on my direct reports.
10· · · ·Q· · Yeah, I guess, I -- I'm trying to broaden the
11· question as to not just disciplinary action, but any
12· adverse action.
13· · · · · · MS. SMITH:· Objection as to the term "adverse
14· action."
15· BY MR. HOYER:
16· · · ·Q· · Do you -- do you have an understanding of the
17· term "adverse action"?
18· · · ·A· · I apologize, but I can't differentiate between
19· what you're saying is an adverse action or a
20· disciplinary action.· I consider them to be one and the
21· same.
22· · · ·Q· · Okay.· Let me ask a different question, then.
23· · · · · · What about organizational decisions that would
24· affect your staff; would he expect you to communicate on
25· those -- that issue?


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·1· · · ·A· · Let me clarify the word "communicate," and if
·2· I could ask for some clarity around the timeline for
·3· such communication.· So are you asking me would he
·4· expect me to communicate prior to making a decision, or
·5· would he expect me to communicate after making a
·6· decision?
·7· · · ·Q· · Either.
·8· · · ·A· · Mr. Stockwell generally would not expect
·9· that -- with -- with regard to my direct reports, he
10· would not expect me to consult with him in any way
11· before I made a decision regarding a particular
12· employee; and the reason why is because I'm paid at the
13· highest GS scale for the federal government; and when --
14· when an a employee is paid at that level, you would
15· expect them to behave and act as an executive and be
16· able to make those decisions.
17· · · · · · I apologize, my phone started ringing there.
18· · · · · · Now, that having been said, I may -- depending
19· on the circumstances, if it's a disciplinary action, I
20· would never have a conversation even after issuing a
21· proposal with him.· It -- other things that I may decide
22· to reassign, things like that, I may have a conversation
23· with him afterwards.
24· · · ·Q· · When you say other things that you may
25· reassign, what -- what -- what are you referring to?


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·1· · · ·A· · No.· Such as a -- such as a reassignment or
·2· a -- maybe even a performance counseling, things like
·3· that.
·4· · · ·Q· · Okay.· But you didn't consider the -- what you
·5· did with respect to the site manager position and
·6· Dr. Velez as a reassignment?
·7· · · ·A· · No.· It's a change -- it's a change in
·8· assignment, so it's not a reassignment of duties.· It's
·9· a change in assignment.· So I did not -- I did not -- it
10· would not be my interpretation that that was something
11· that I would discuss with Mr. Stockwell in advance of
12· taking -- taking a formal action.
13· · · ·Q· · And what difference between a change in
14· assignment and a -- and a -- a -- a reassignment?
15· · · · · · · · · (Reporter clarification)
16· BY MR. HOYER:
17· · · ·Q· · What is the difference, in your mind, between
18· a reassignment and a change in assignment?
19· · · ·A· · The duties were not being assigned.· The
20· duties were already assigned to me in my position
21· description.· They are duties that I had to take on.· So
22· it was not a reassignment of duties.
23· · · · · · Reassignment is taking -- to me, the -- the
24· characterization of the word "reassignment" is taking
25· the duties of one individual and transferring those


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·1· duties to another individual.
·2· · · ·Q· · I see.· So it's your understanding that your
·3· job description included all of the site manager duties
·4· that Dr. Velez had assumed.
·5· · · ·A· · Correct.
·6· · · ·Q· · Okay.· Let's see if I can share this document.
·7· · · · · · All right, can you see -- let's mark this as
·8· Exhibit 3.
·9· · · · · · · · · · (Exhibit 3 marked)
10· BY MR. HOYER:
11· · · ·Q· · Mr. Graham, can you see that?
12· · · ·A· · I can.
13· · · ·Q· · Okay.· And this purports to be a -- a letter
14· or memo from Dr. Velez to you dated August 27, 2018.· Do
15· you recognize that?
16· · · ·A· · I do.
17· · · ·Q· · Okay.· And, if -- if you want to take a moment
18· and review it, I'm happy to give you time to review it.
19· Otherwise I'll just ask you questions about it.
20· · · ·A· · Okay.
21· · · ·Q· · Okay.· So, in the second paragraph, she says,
22· in the second sentence, in our discussion, when you
23· presented this letter to me, you said that the Martinez
24· campus function well under her leadership and therefore
25· you wanted her to continue to do the work that she's


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·1· been doing.
·2· · · · · · Let's see.· Is it correct that you said those
·3· things to her?
·4· · · ·A· · I would need to review Exhibit 1.
·5· · · ·Q· · Okay.· Let me pull it up.
·6· · · · · · MS. SMITH:· I -- Mr. Hoyer, I think you can
·7· just click on the tap at the top.
·8· · · · · · MR. HOYER:· Oh, okay.· There you go.
·9· · · · · · THE WITNESS:· So I don't see in there where I
10· ask her to continue doing the work that she was doing.
11· BY MR. HOYER:
12· · · ·Q· · Okay.· Let's see.· Well, this -- in this
13· letter -- in this memo, she's referring to a discussion
14· that you had with her.
15· · · · · · Did you have a discussion with her about this
16· subject?
17· · · ·A· · When I presented her the August 20th, 2018,
18· change of assignment memorandum, I did share with her
19· that -- that overall her performance had always been
20· outstanding, and so I can't speculate on what I said at
21· that time, specifically if it functioned well was the
22· exact words that I used, but certainly I -- I don't have
23· any objection to saying that -- that it functioned well
24· under her leadership.· But I did not continue to ask her
25· to do everything that she had been doing, and I believe


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·1· that I clarified that whenever I responded to her -- her
·2· informal grievance.· I believe that was dated
·3· September 27th, 2018, if you have a copy of that letter.
·4· · · ·Q· · Yeah, we'll get to that.· I'm just asking
·5· about this stuff in chronological order here.
·6· · · · · · Now, you indicated -- that you wanted to bring
·7· Martinez in line with Sacramento in how it operated
·8· regarding a site manager position.· Is that right?
·9· · · ·A· · Yes.· That's correct.
10· · · ·Q· · And why was it -- if, in fact, the Martinez
11· campus was functioning well, why was it important to
12· bring Martinez in line with Sacramento?
13· · · ·A· · Again, because of a duplication in effort.
14· So, when there's an associate director on a campus,
15· they're responsible for the day-to-day operations
16· associated with space planning, with construction, and
17· designing of new buildings.· That's all within the
18· responsibilities, the formal written responsibilities,
19· of the associate director.· It's what my performance
20· standards are based upon.· It's what Mr. Hinson's
21· performance expectation are based upon.· And so the idea
22· of having a -- a vascular surgeon doing purely
23· administrative roles as a site manager did not seem at
24· that time, or now even, as a good use of government
25· resources and specifically taxpayer funds.


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·1· · · ·Q· · Okay.· But you never mentioned that to
·2· Mr. Stockwell; is that correct?
·3· · · ·A· · For the --
·4· · · · · · MS. SMITH:· Objection.· As to what point in
·5· time are you talking about, Mr. Hoyer?
·6· · · · · · MR. HOYER:· Never.· Ever.· From the beginning
·7· of time until the present.
·8· · · ·Q· ·(By Mr. Hoyer)· Is that correct?
·9· · · · · · MS. SMITH:· Objection -- objection.
10· · · · · · To the extent you understand the question,
11· Mr. Graham, you can answer.
12· · · · · · THE WITNESS:· I'm not entirely sure -- had
13· what discussion with Mr. Stockwell?· I need some clarity
14· on what type of discussion you're asking about.
15· BY MR. HOYER:
16· · · ·Q· · Well -- well, you just -- your previous answer
17· to the question was the -- the justification for
18· bringing Martinez in line with Sacramento in terms of
19· duplication of effort, in terms of your own job
20· description.· Do you remember that answer?· I can have
21· the court reporter read it back if --
22· · · ·A· · No, I remember the answer.
23· · · ·Q· · Okay.· So the -- my question is, But you never
24· discussed that with Mr. Stockwell.
25· · · ·A· · Prior to the issuance of this memo, no.


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·1· · · ·Q· · Okay.· But at some point after the issuance of
·2· the memorandum, you did have a discussion with him about
·3· it?
·4· · · ·A· · Certainly, I have -- I shared with him that I
·5· had -- had issued the change of assignment memorandum to
·6· Dr. Velez and the impact of that, and certainly made him
·7· aware of how those responsibilities were going to be
·8· assumed through myself and my office.
·9· · · ·Q· · And how long after the issuance of that memo,
10· which is Exhibit 1 -- I can pull it up if you want to
11· see it again.· It's got a date on it, right?
12· · · ·A· · August 20th.
13· · · ·Q· · How long -- yeah.
14· · · · · · How long after the issuance of this memo did
15· you discuss it with Mr. Stockwell?
16· · · ·A· · I can't remember exactly how long it was.
17· · · ·Q· · Was it within a couple of weeks or a year
18· later?· Can you give me an estimate?
19· · · ·A· · Certainly, wasn't a year later.· It was --
20· it -- but it wasn't within a couple weeks.· I can't
21· recall the exact date, though.
22· · · ·Q· · Was it after Dr. Velez filed a grievance?
23· · · ·A· · I believe it was after the grievance.
24· · · ·Q· · Okay.
25· · · ·A· · And after I believe -- also after his decision


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·1· on the grievance.
·2· · · ·Q· · Okay.· So you didn't discuss this with him
·3· prior to him issuancing -- issuing the decision on
·4· the -- the grievance; is that correct?
·5· · · ·A· · I don't believe so, but I would reiterate that
·6· I -- and clarify, for the record, that I don't remember
·7· the exact time frame associated when -- when I discussed
·8· after I issued the memorandum.
·9· · · ·Q· · Do you remember what you -- do you remember
10· anything about the discussion with him?
11· · · ·A· · Sir, it was 2018.· I'm not -- I did not record
12· the conversation, and so I can't speculate on what I
13· discussed him with at that time.· As I mentioned
14· earlier, when I meet with him, I can discuss anywhere
15· from 10 to 30 different things with him on a given day,
16· and so I can't recall the exact quality of that
17· discussion.
18· · · ·Q· · Okay.· Did you take notes in your meeting with
19· Dr. Velez that Exhibit 3 refers to?
20· · · ·A· · No, I did not take notes.· Generally, I don't
21· take notes in meetings.
22· · · ·Q· · Okay.· When construction happens at Oakland or
23· the Solano County sites, are -- is that within your job
24· description?· Are you primarily responsible for that?
25· · · ·A· · Yes.· I'm responsible for all construction in


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·1· the East Bay.· Certainly, my site manager may play a --
·2· a role at those sites where I'm not located there on the
·3· ground doing the day-to-day operations at those sites,
·4· but, certainly, as far as the long-term planning, myself
·5· and the rest of the executive team, including the
·6· director, the other associate director, our nurse
·7· executive, and our chief of staff, are intimately
·8· involved in planning discussions.
·9· · · ·Q· · Now, down here towards the bottom of the
10· paragraph, it says:
11· · · · · · · · "Again, in our discussion you emphasized
12· · · · · · your need for me to continue to play that
13· · · · · · clinical role involving multiple clinical
14· · · · · · services and in the interface role."
15· · · · · · Is it correct that you said that to her?
16· · · ·A· · I don't know if I used those exact words or if
17· that's Dr. Velez's interpretation of those words, but I
18· do remember that I clarified those in my September 27th
19· letter to Dr. Velez, where I provided clarity on the
20· context of this conversation that she -- as she
21· understood it.· What I can tell you, though, is that as
22· an assistant chief of the surgery -- of surgical
23· services, I would expect her, as well as any other
24· assistant chief of the clinical service, to work with
25· their partners and other clinical services to interface


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·1· on clinical issues.· That's a normal expectation for any
·2· clinical service chief across the organization, and you
·3· don't have to have a site manager role in order for that
·4· to happen.· In fact, our site managers, at any of our
·5· locations, do not interface on clinical issues.· That's
·6· not their responsibility.· That's not part of their
·7· physician description.
·8· · · · · · If there is an issue between medicine service
·9· and surgical service, I would expect that medicine's
10· chief and surgery's chief would have those
11· discussions -- that providers would have those
12· discussions with radiology or with dental or whoever
13· they are interfacing with as part of their clinical
14· responsibilities.
15· · · ·Q· · Okay.· See if I can share the next exhibit.
16· · · · · · Okay, I think this is the September memo that
17· you were referring to.· Is that correct?
18· · · · · · MS. SMITH:· And just so the -- just so the
19· record's clear, you're showing him what's been premarked
20· as Exhibit 4; is that correct?
21· · · · · · MR. HOYER:· Yes.
22· · · ·Q· ·(By Mr. Hoyer)· Exhibit 4 is a memo from you to
23· Dr. Velez dated September 27, 2018.
24· · · · · · MS. SMITH:· Mm-hm.
25· · · · · · · · · (Reporter clarification)


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·1· · · · · · MS. SMITH:· Okay, it's being marked as
·2· Exhibit 4, Mr. Hoyer?
·3· · · · · · MR. HOYER:· Yeah.
·4· · · · · · MS. SMITH:· Okay.
·5· · · · · · · · · · (Exhibit 4 marked)
·6· BY MR. HOYER:
·7· · · ·Q· · All right, have you had a chance to review,
·8· this.· Do you want to scroll down a little bit?
·9· · · ·A· · If you could scroll down just a little bit.
10· · · ·Q· · How's that?
11· · · ·A· · Yes, that's perfect.
12· · · · · · Okay.
13· · · ·Q· · Okay.· So, in the second paragraph, you say in
14· the third sentence:
15· · · · · · · · "After careful consideration and
16· · · · · · discussion with the clinical executive team,
17· · · · · · I['ve] decided [not to] rescind the August 27,
18· · · · · · 2018, change in assignment memo."
19· · · · · · And, I guess, my first question is, Who are
20· you referring to as the clinical executive team?
21· · · ·A· · The clinical executive team would be the
22· deputy chief of staff and the chief of staff.
23· · · ·Q· · And what names do those people have?
24· · · ·A· · Dr. Regina Godbout was the deputy chief of
25· staff at the time, and then Dr. William Cahill was the


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·1· chief of staff and still is the chief of staff.
·2· · · ·Q· · And what -- how many discussions did you have
·3· with those two about this decision?
·4· · · ·A· · Only one discussion that I can recall.
·5· · · ·Q· · Okay.· And how long was that discussion?
·6· Roughly.
·7· · · ·A· · I have no idea how long the discussion lasted.
·8· · · ·Q· · Okay.· Was it more than an hour?
·9· · · ·A· · Again, I have no idea how long -- I can't
10· recall how long the discussion lasted.
11· · · ·Q· · Okay.· And what sorts -- what sorts of things
12· were discussed?
13· · · ·A· · The -- the only point that we discussed was
14· Dr. Velez's request to be titled the chief medical
15· officer for the Martinez campus; and because that was
16· inconsistent with how we handle medical operations at
17· any of our other locations, I felt that it was --
18· Dr. Cahill's input was incredibly important of whether
19· or not I was going to approve or deny that title change
20· for her; and, consequently, we did deny that -- that
21· title change to a chief medical officer, because none of
22· our other locations have a title of chief medical
23· officer.· That responsibility of CMO is with the deputy
24· chief of staff and the chief of staff.
25· · · ·Q· · So, when you say "that responsibility," what


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·1· do you mean by that?
·2· · · ·A· · Well, it's hard to clarify what the -- what
·3· that meant, because Dr. Velez wanted the title of chief
·4· medical officer, but that title does not exist within
·5· our health care system, so it was creating a position or
·6· title that did not exist.· So I'm not entirely sure what
·7· that role would have been, but I think she viewed it --
·8· what I would speculate is that she viewed it as her
·9· ability to address patient care issues, impacting
10· surgical services, and -- and interfacing with other
11· clinical services, and that there was a inherent need
12· for a -- a greater -- a -- a perceived greater title
13· than what she had already had as an assistant chief of
14· surgery.
15· · · ·Q· · Is that what she told you?
16· · · ·A· · What -- excuse me?
17· · · ·Q· · Well, you -- you said, "I would speculate,"
18· and then you gave me your answer.· I'm just wondering,
19· is that actually what she told you, or is that what
20· you're guessing that she meant by chief medical officer?
21· · · ·A· · Okay, so if you can -- if you don't mind going
22· back to Exhibit 3.
23· · · ·Q· · Sure.
24· · · ·A· · She says, again, in our -- toward the bottom
25· there, "Again, in our discussion, you emphasized" --


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·1· · · · · · · · · (Reporter clarification)
·2· · · · · · THE WITNESS:· Okay.· Sorry about that.
·3· · · · · · So she says, in the bottom of the second
·4· paragraph:
·5· · · · · · · · "Again, in our discussion you emphasized
·6· · · · · · your need for me to continue to play that
·7· · · · · · clinic role involving multiple clinical
·8· · · · · · services and in the interface role."
·9· · · · · · She goes on later in the next paragraph to
10· say, "I hope that we can continue" -- actually, she says
11· at the last sentence -- next-to-the-last sentence, I
12· apologize:
13· · · · · · · · "The title of Assistant Chief of Surgery
14· · · · · · alone is insufficient and inappropriate to the
15· · · · · · role [that] I have performed, that you need,
16· · · · · · and that you want me to continue to perform.
17· · · · · · May I then suggest that I be assigned a more
18· · · · · · appropriate title with a more appropriate
19· · · · · · reporting line."
20· · · · · · And then, in her next sentence, she suggested
21· that title as chief medical officer reporting to the
22· chief of staff.· So, I did not make it up or presume.
23· She put it into her informal grievance request in
24· writing.
25· · · ·Q· · Okay.· So you -- I -- I think you seem to


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·1· indicate that you were clear on what she meant by
·2· continuing to play the clinical role.
·3· · · ·A· · Yes.
·4· · · ·Q· · Okay.· And was -- did you actually emphasize
·5· your need for her to continue to -- to play that
·6· clinical role?
·7· · · ·A· · Of course.· Certainly, as an assistant chief
·8· of a clinical service line, I would expect her to play a
·9· clinical role in interfacing with other clinical
10· partners across the campus to resolve patient care
11· issues.
12· · · ·Q· · No, but she seems to say that that --
13· you're -- you're talking about something different and
14· larger as the site manager role that she was being
15· reassigned away from.
16· · · · · · MS. SMITH:· Objection.
17· BY MR. HOYER:
18· · · ·Q· · So I don't understand -- I -- I don't
19· understand.
20· · · · · · Are you saying that all you told her was that
21· you wanted her to continue in her clinical role of
22· assistant chief of surgery, and you weren't referring to
23· her duties -- any of her duties as the site manager?
24· · · ·A· · Correct.· If you'll go back to Exhibit 4.
25· · · ·Q· · Let's see.· Exhibit 4, the tab is now under


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·1· the --
·2· · · ·A· · It's to the right of Exhibit 3 there.
·3· · · ·Q· · I know.· It's underneath the -- your
·4· screen-sharing notice.
·5· · · ·A· · Oh.
·6· · · ·Q· · Oh, maybe I can move it.· A little pull down.
·7· Okay, yeah.· All right, there's Exhibit 4.
·8· · · ·A· · So, if you'll look at the next-to-the-last
·9· paragraph down, I think it's the third.· It says:
10· · · · · · · · "Based on the context of your . . .
11· · · · · · informal grievance, it appears that you
12· · · · · · misunderstood the expectations [that] I set
13· · · · · · forth in our meeting on August 27[th], 2018;
14· · · · · · therefore, I['d] like to clarify [them in
15· · · · · · that] memorandum."
16· · · · · · At that time, I informed Dr. Velez that --
17· that she would remain as the assistant chief of surgery
18· and that it would be an expectation that would -- she
19· could -- would continue to be a vital part of our -- our
20· management team for VA NorCal, with the same expectation
21· that other assistant chiefs of services and service
22· chiefs, which would include interfacing across multiple
23· service lines to address patient care issues.· I said
24· it's not the expectation that she will either manage or
25· have direct oversight of all clinical functions on the


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·1· Martinez campus, but work with other services in a
·2· collaborative manner to -- to resolve clinical issues as
·3· they arise.· So it's that assistant chief, that
·4· supervisor responsibility as an assistant chief, that
·5· makes her a Tier 2 physician for which she's compensated
·6· for; and so I'm telling her that her role of assistant
·7· chief would not change.· But her role as a site manager,
·8· site manager, again, as I mentioned in a previous
·9· response to a question, site manager responsibilities
10· does not include interfacing across clinical services.
11· · · · · · That -- the site manager role, as it's defined
12· at VA Northern California Health Care System, is
13· resolving day-to-day operational issues associated with
14· the clinic, but it does not include interfacing across
15· clinical services to solve clinical issues.· None of our
16· site managers, which the exception of Dr. Addagatla, are
17· clinicians.
18· · · ·Q· · And -- well, patient care issues often involve
19· more than just the interaction of two clinical services,
20· correct?
21· · · · · · MS. SMITH:· Objection.
22· · · · · · To the extent he's aware of such information,
23· he can testify.
24· · · · · · THE WITNESS:· Yeah, I mean, I -- it would
25· depend on nature the -- of the patient care issue, and


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·1· certainly I'm not a physician, so I would not be able to
·2· comment on how many interactions it might take to
·3· resolve a -- a clinical issue.
·4· BY MR. HOYER:
·5· · · ·Q· · Well, are -- are there any issues at the site
·6· manager level that involve patient care issues?
·7· · · ·A· · No.· We would expect that the -- whoever the
·8· clinician is at those sites, that the -- the -- the
·9· services or the assistant chief of those services would
10· work to resolve those issues.
11· · · ·Q· · Was Dr. Chun given any title after his site
12· manager duty was removed or reassigned?
13· · · ·A· · Okay, I -- I started to say I -- I would
14· disagree with characterization of the word "removed,"
15· but after his -- his duties were, in fact, reassigned.
16· We took a administrative officer that was reporting to
17· the site manager; we made that an official site manager
18· and we hired, in to a site manager role, an individual
19· at Oakland.· Dr. Chun kept his original title, which was
20· physician lead for primary care, so he was the lead
21· physician for primary care, and that's the -- the role
22· that he continued to have until he retired.
23· · · ·Q· · Okay, and the physician lead, how is that
24· different than a chief medical officer as Dr. Velez
25· proposed?


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·1· · · ·A· · Again, Dr. Velez did not offer a position --
·2· any type of position description for a chief medical
·3· officer.· Chief medical officer is not a terminology or
·4· a title that's used at VA Northern California Health
·5· Care Systems, so I can't speculate on what that might or
·6· might not have been and how that's different than a lead
·7· physician for primary care.
·8· · · ·Q· · Did you ask Dr. Velez:· "What do you mean by
·9· chief medical officer?· What's -- what -- what -- what's
10· your position description for that?"
11· · · ·A· · Yes.· In my meeting on August 27, we talked
12· briefly about what a chief medical officer would be; and
13· Dr. Velez, as she reiterated in her prior correspondence
14· of her informal grievance -- reiterated that she felt
15· that the assistant chief of surgery and that title alone
16· was not sufficient for her to interface with various
17· clinical service chiefs on resolving clinical service
18· issues.· But it works at ten other sites, so I wasn't
19· under the assumption that it was needed at Martinez
20· either.
21· · · ·Q· · Well, I'm confused now, because what you just
22· told me was, she described how her assistant chief
23· position was not adequate, but what I was asking about
24· was whether you asked her what she meant by chief
25· medical officer.


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·1· · · ·A· · I believe what Dr. Velez wanted to have was a
·2· title that would empower her to have some type of line
·3· authority over all the clinicians at Martinez, and
·4· certainly that -- that site manager responsibility did
·5· not give her any line authority over any clinician at
·6· Martinez other than those who directly report to her.
·7· So I didn't see how the difference in a chief medical
·8· officer title, with no different reporting structure or
·9· up to her, would change the circumstances at all.
10· · · ·Q· · Okay.· So let me see if I got this right.· You
11· asked her what she meant by chief medical officer, and
12· she said something to the effect of she would have line
13· authority over all the other physicians at Martinez.
14· · · ·A· · No.
15· · · · · · MS. SMITH:· Objection.
16· · · · · · THE WITNESS:· I don't -- I don't -- number
17· one, I don't recall the context of what her response
18· was, and certainly I did not keep notes on it, but she
19· wanted to have a title of chief medical officer, and she
20· wanted to report directly to the chief of staff.
21· BY MR. HOYER:
22· · · ·Q· · Okay, how do you get from that that she wanted
23· line authority over every other physician at Martinez?
24· · · ·A· · Not every other -- not every physician, but
25· some type of authority over the clinical staff so that


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·1· she could interface with them.· Certainly, if she
·2· reported directly to the chief of staff, she would be
·3· putting herself at organizational level equivalent to
·4· her boss at the time, which was Dr. Scott Hundahl, and
·5· so she wanted to directly report to the chief of staff.
·6· · · ·Q· · And she told you she wanted to report directly
·7· to the chief of staff.
·8· · · ·A· · Yes.· If you go back to Exhibit 3.
·9· · · · · · If you look at the next-to-the-last sentence,
10· "continuing to report to you, or if you prefer [the]
11· Chief Medical Officer presumably reporting to the [Chief
12· Of Staff]."· That's what the COS means.· And, as a chief
13· medical officer, I'm not a physician, so there is no
14· legal authority for her to report to me as an associate
15· director in a physician capacity.
16· · · ·Q· · Okay.· I -- I thought you testified earlier
17· that she actually did report to you when she was the --
18· in the site manager role.
19· · · ·A· · Correct.· She reported to me as the site
20· manager, which does not include interfacing with
21· clinical services.
22· · · ·Q· · Wasn't she proposing that she would continue
23· in her role as site manager and therefore continue to
24· report to you?· Was that your understanding?
25· · · ·A· · Yes.· In her initial request as -- as -- as --


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·1· out there in Exhibit -- on Exhibit 3, she, respectfully,
·2· requested that I rescind the memo of April 20th
·3· reassigning her and that she would remain a site
·4· manager, for which I denied that request.· Then,
·5· alternatively, she requested a title of chief medical
·6· officer presumably reporting to the chief of staff.
·7· That -- that -- that little component of her sentence is
·8· the part that I discussed with Dr. Cahill, because
·9· Dr. Cahill is technically the lead physician for the
10· entire health care system; and so he needed to have some
11· input on whether or not the chief medical officer role
12· would be a good title for her to interface across
13· clinical services; and our determination was, no, that
14· the chief medical officer title was not one that we have
15· historically or -- or presently use at VA Northern
16· California Health Care System, and that the -- that his
17· expectations, as the chief of staff, for any of his
18· assistant chiefs with the -- would be that they would
19· interface across those clinical services to resolve
20· clinical issues with their partners and others --
21· clinical services.
22· · · ·Q· · Okay.· So, Dr. Chun's title of lead
23· physician --
24· · · ·A· · For primary care.
25· · · ·Q· · For primary care.· So, that was a sort of


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·1· service chief position?
·2· · · ·A· · No.· It's actually -- that position is
·3· actually lower than Dr. Velez's position.· Dr. Velez is
·4· an assistant chief.· Dr. Chun was the lead physician
·5· over the primary care physicians, so he provided
·6· supervision to the primary care physicians at Oakland.
·7· He had no line authority over mental health providers or
·8· specialty -- medicine specialty or surgery specialty
·9· providers at Oakland.
10· · · · · · MS. SMITH:· If I could just clarify,
11· Mr. Graham, you referred to the memo as April 20th.· Do
12· you mean the August 20th memo?
13· · · · · · THE WITNESS:· I apologize for that.· I mean
14· the August 20th memo.
15· · · · · · MS. SMITH:· Okay.
16· BY MR. HOYER:
17· · · ·Q· · Was -- was Dr. Chun ever the chief medical
18· officer?
19· · · ·A· · No.· His title was lead physician for primary
20· care.· I think Dr. Chun -- I think it's important to add
21· that Dr. Chun referred to himself as chief medical
22· officer, but, again, that was not his legal title under
23· VA -- his VA's boarding action.
24· · · ·Q· · Okay.· So did -- when he referred to himself
25· as the chief medical officer, did you ever correct him?


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·1· · · ·A· · I routinely corrected him.
·2· · · ·Q· · Okay.· And so who was the person that had
·3· oversight over all the clinical functions at the
·4· Martinez campus, then, after this change?
·5· · · ·A· · Oversight of all clinical functions across our
·6· entire health care system lies with the chief of staff
·7· and the deputy chief of staff.
·8· · · ·Q· · Well, is there anybody at the Martinez
·9· location that has oversight over all of the clinical
10· functions at Martinez?
11· · · ·A· · No.· We have 11 sites of care across our
12· health care system.· Our chief of staff and our deputy
13· chief of staff are located in Mather, but they run
14· clinical operations for all other 11 sites of care.
15· Martinez being --
16· · · ·Q· · Okay, so there -- okay, so there are no
17· individuals in NorCal that have oversight over all
18· clinical operations at a particular site.
19· · · ·A· · No.
20· · · ·Q· · Exhibit 5.· And here we have . . .
21· · · · · · THE REPORTER:· Counsel, for the record, when
22· you refer to an exhibit, is that to be marked?
23· · · · · · MR. HOYER:· Yes.· So here we have Exhibit 5,
24· and it is a e-mail to the Martinez staff, I guess, from
25· you.


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·1· · · · · · · · · · (Exhibit 5 marked)
·2· BY MR. HOYER:
·3· · · ·Q· · Do you recognize the e-mail?
·4· · · ·A· · I do.
·5· · · ·Q· · Okay, and do you want to review it further, or
·6· is that good?
·7· · · ·A· · I'm -- I'm good.
·8· · · ·Q· · Okay.· Okay.· Now, in the second paragraph --
·9· let me just scroll up here -- you say:
10· · · · · · · · "As many of you . . . know, Dr. Pauline
11· · · · · · Velez has served in the role of Site Manager
12· · · · · · for many years.· During this time, Dr. Velez
13· · · · · · is attributed to making . . . significant
14· · · · · · contributions improving clinical care
15· · · · · · coordination across VA Northern California
16· · · · · · Health Care System."
17· · · · · · When you say "attributed to," what do you mean
18· by that?
19· · · ·A· · She certainly was one of the major influencers
20· in improving clinical care coordination across all VA
21· Northern California, not just at Martinez.· Dr. Velez
22· has played a vital role in clinical coordination across
23· all of our sites as the assistant chief of surgery.
24· · · ·Q· · Okay.· So, the contributions you're talking
25· about there are contributions she made not as the site


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·1· manager but as the assistant chief of surgery.
·2· · · ·A· · Correct.
·3· · · ·Q· · Okay.· Why is it that you refer to her in the
·4· role of site manager just before you talk about her
·5· contributions?
·6· · · ·A· · I can't recall why I phrased it the way that I
·7· did, but if you look at the next sentence, you'll see,
·8· as -- as site manager, she was instrumental, and I went
·9· in her "as site manager" roles.
10· · · ·Q· · Okay.· And so the fact that she was
11· instrumental in the evolution the Martinez campus as we
12· see it today, is that a contribution she made as the
13· assistant chief of surgery or site manager?
14· · · ·A· · Which sentence are you referring to?
15· · · ·Q· · As the site manager, comma --
16· · · ·A· · Okay.
17· · · ·Q· · -- Dr. -- do you see that?
18· · · ·A· · Yes, I do.· Dr. Velez was instrumental in the
19· evolution of the Martinez campus as we see it today.· So
20· I think it's probably helpful to provide some
21· background.
22· · · · · · · · ·(Discussion off the record)
23· · · · · · THE WITNESS:· Yeah, so I think it's important
24· to understand some of the history for Dr. Velez and the
25· Martinez campus.· Prior to the Loma Prieta earthquake,


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·1· Dr. Velez worked at the VA Martinez; and the -- the VA
·2· Martinez was a hospital; and whenever the Loma Prieta
·3· earthquake happened (I believe it was 1989), the
·4· hospital was determined by VA to be seismically
·5· insufficient for further operations; and they decided to
·6· close the hospital.
·7· · · · · · After that time, there was -- to -- to be
·8· short with the explanation, there was a period of time
·9· where VA Northern California Health Care System was only
10· a system of clinics.· We had no hospital; and part of
11· that was the transformation of the Martinez site and --
12· and how we saw the future of the Martinez site; and so
13· it was through Dr. Velez's vision coupled with other
14· partners on -- so I won't say that it was her vision
15· entirely, but certainly with others in mind, she worked
16· to obtain funding for our CLC, our -- our community
17· living center, which we also call the Center for
18· Rehabilitation and Extended Care as well as a Center for
19· Integrated Brain Health and Wellness that also her
20· husband, Dr. Michael Remler, played a significant part
21· in that vision.· And so she has -- she really helped to
22· shape the vision of the campus from the time that the --
23· that the hospital was taken down as a result of the Loma
24· Prieta earthquake to the point that -- where it is
25· today; and so I can't -- I -- I can't say that -- that


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·1· her vision wasn't a part of everything that's happened
·2· here in Martinez, because it was.
·3· BY MR. HOYER:
·4· · · ·Q· · Okay, my question, though, was, Were those
·5· contributions that you're referring her contributions as
·6· site manager or as assistant chief of surgery?
·7· · · ·A· · Probably a joint of both, actually.· That's
·8· where the -- the lines get a little -- a little bit
·9· blurry in what her site manager role was and what her
10· clinical role as the assistant chief.· Certainly, I
11· would say the site manager helping on the design and
12· make -- following through on the construction project
13· timelines, those were probably more of site manager
14· responsibilities.· The overall vision, I would say, is a
15· clinical vision that was also supported and probably
16· visioned by others in the health care system as well.
17· · · ·Q· · Okay, is it your contention that she could
18· have accomplished everything that you're referring to
19· here as assistant chief of surgery?
20· · · · · · MS. SMITH:· Objection.
21· · · · · · MR. HOYER:· [Unintelligible].
22· · · · · · · · · (Reporter clarification)
23· BY MR. HOYER:
24· · · ·Q· · Without her site manager role.
25· · · · · · MS. SMITH:· Objection.


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·1· BY MR. HOYER:
·2· · · ·Q· · You can answer.
·3· · · ·A· · So I think -- I am very -- very sure that she
·4· could accomplish all of these with her assistant chief
·5· of surgery role and that a site manager role is not
·6· needed to accomplish these types of -- of actions.
·7· Certainly, if she were an involved member of the
·8· management team within surgical services, she could
·9· accomplish these visions by sharing those visions,
10· making sure that these visions are communicated upwardly
11· within the organization and shared with our planning
12· team; and certainly I don't think that the site manager
13· title had anything to do necessarily with these
14· responsibilities.
15· · · ·Q· · Okay.· When you refer --
16· · · ·A· · Let me clarify.
17· · · ·Q· · -- to the--?
18· · · ·A· · The purpose of this e-mail was not to
19· delineate her site manager responsibilities from her
20· clinical responsibilities.· The purpose of this was to
21· thank Dr. Velez for all of her years of service as a
22· site manager, to show the staff our appreciation at an
23· executive level for all of the things that she has done
24· for our health care system, and to assure them that
25· she's going to remain a vital part of our management


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·1· team here at VA Northern California Health Care System.
·2· So, I don't want the context of this e-mail being
·3· presented as one that delineates titles.· It was -- it
·4· was really as a -- a way to memorialize the
·5· accomplishments that she's made to our health care
·6· system and thank her for those years service.
·7· · · ·Q· · Okay.· Other than this e-mail, did you do
·8· anything to thank her?
·9· · · ·A· · She has gotten performance awards from me in
10· the past as the site manager.· I think I gave her the --
11· when I got -- when she got an outstanding performance
12· appraisal, she got a performance award associated with
13· that, and she's also gotten special contribution awards.
14· I don't remember the exact dates of these awards,
15· though.
16· · · ·Q· · No.· I mean, after you removed her -- well,
17· after you reassigned her from -- and -- and I -- sorry,
18· let me -- strike that.
19· · · · · · Let me just ask about -- I -- I think you
20· referred to site manager as a title.· Was it a title?
21· · · ·A· · It was a title.
22· · · ·Q· · Okay.· So, after you removed the -- the title
23· from her, did you do anything to thank her other than
24· send this e-mail?
25· · · ·A· · I can't recall exactly what I did.· I know


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·1· that I thanked her.· At the time that I gave her the
·2· memorandum, I thanked her.· I think that Dr. Velez was
·3· probably not -- my presumption is, is that she was
·4· not -- that she -- maybe she didn't hear that, but I
·5· thanked her at that time, and then I also sent this
·6· e-mail whenever I formally announced it to staff.             I
·7· sent this e-mail, and I made sure that we reiterated
·8· again all of the amazing accomplishments that she's had,
·9· thanked her for her service, and then clarified the
10· expectations moving forward that she would continue to
11· be a vital part of our management team.
12· · · · · · · · ·(Discussion Off the record)
13· BY MR. HOYER:
14· · · ·Q· · Okay, so the -- the next paragraph says,
15· "Since there is a Pentad level executive" --
16· · · · · · · · · (Reporter clarification)
17· · · · · · MR. HOYER:· -- Ms. Do -- yeah, I was just
18· going to spell it, P-e-n-t-a-d.
19· · · ·Q· ·(By Mr. Hoyer)· What -- what does "Pentad
20· level" refer to?
21· · · ·A· · Thank you for you that clarification, because
22· that's VA lingo that I wouldn't expect you to know what
23· that means.· When we say "Pentad," we're referring to
24· our executive team.· There are five members of the
25· executive team, that being the -- the director, the


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·1· associate director, the two associate directors (so
·2· that's three), the nurse executive, and the chief of
·3· staff, so five executive members is the Pentad for
·4· the -- for the health care --
·5· · · ·Q· · And --
·6· · · ·A· · -- system.
·7· · · ·Q· · And that's a -- a Pentad for the Martinez
·8· campus?
·9· · · ·A· · No.· It's a Pentad for the entire health care
10· system.
11· · · ·Q· · Yeah.· And so, in September of 2018, who were
12· the individuals on the Pentad?
13· · · ·A· · September 2018, the -- the -- well, I can't
14· remember on the -- so I was the associate director for
15· the East Bay division.· Mr. Stockwell, David Stockwell,
16· was the medical center director.· William Cahill was the
17· chief of staff.· Dr. Kathryn Bucher was the associate
18· director for patient care services and the nurse
19· executive.· I honestly cannot remember if Mr. Hinson was
20· the associate director for the Sacramento Valley
21· division, but I don't believe he was.· I believe it was
22· Dr. Dawn Erkenbrach.
23· · · ·Q· · Okay.· So, in this sentence where you refer to
24· the Pentad level executive, that's you, right?
25· · · ·A· · That's me.


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·1· · · ·Q· · Okay.· "Along with administrative support to
·2· manage daily operations," who is that referring to?
·3· · · ·A· · I have -- I have a few administrative staff
·4· that work for me.· I have a secretary that directly
·5· supports the associate director's office.· I have an
·6· executive assistant that supports me, and I have an
·7· administrative officer in Martinez that supports the --
·8· that's designed to support all of the needs of the
·9· campus, so anyone that has an engineering or that type
10· of related issue could contact that individual for
11· assistance.
12· · · ·Q· · And prior to you getting there, did all those
13· administrative support staff support your predecessor?
14· · · ·A· · The secretary and the executive assistant
15· supported my predecessor.· The administrative officer
16· was a new position that was given to me after I got
17· here.
18· · · ·Q· · Did you have some time where you sort of
19· transitioned into the role with the help of your
20· predecessor?
21· · · ·A· · No.
22· · · ·Q· · Okay.· Who was your predecessor?
23· · · ·A· · His name was David Mastalski.
24· · · ·Q· · And did Mr. Mastalski ever have any
25· discussions with you about the role that you're in now?


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·1· · · ·A· · No.· Mr. Mastalski left several months prior
·2· to my onboarding as the associate director.
·3· · · ·Q· · Okay.· Now, in -- the -- the rest of that
·4· sentence just says, "Dr. Velez will return to Surgical
·5· Service on a full-time basis."
·6· · · · · · Prior to this memo, wasn't she a full-time
·7· surgeon?
·8· · · ·A· · She had administrative time dedicated to being
·9· a site manager, so if you have administrative time
10· dedicated to being a site manager, that doesn't make you
11· full-time surgery.
12· · · ·Q· · Ah.· Well, how much of her time was dedicated
13· to administrative site manager stuff versus surgery?
14· · · ·A· · I don't know, and I'm not aware -- I don't
15· recall how much time was dedicated to site manager.
16· · · ·Q· · Did she spend more time doing surgery after
17· this e-mail?
18· · · ·A· · I'm not aware.· I -- she doesn't report to me,
19· so I'm not aware of how she utilizes her time presently
20· or after this memo.
21· · · ·Q· · Okay.· And, let's see, she's assistant chief
22· of surgery still.· And is there any administrative time
23· for that title?· Is that a title, or is that a role, or
24· is it a position or a job?· I'm not sure what you call
25· it.


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·1· · · ·A· · My understanding is that that is her current
·2· position that she is in.· I'm not aware of how much
·3· administrative time she has allotted for that role.
·4· · · ·Q· · Okay.· But all of the stuff that you laud her
·5· for in the -- the -- the top part of this e-mail, that's
·6· stuff that she could have done in her administrative
·7· time as the assistant chief of surgery, right?
·8· · · ·A· · That's what I would assume.
·9· · · ·Q· · Okay.· Well, is she currently known as a
10· part-time surgeon -- surgery with administrative time
11· devoted to being the assistant chief?
12· · · ·A· · There -- I'm not sure I understand the
13· question.
14· · · ·Q· · Well, you say that there are -- are
15· administrative -- there are administrative things that
16· she does as the assistant chief of surgery, correct?
17· · · ·A· · Correct.· There's administrative things that
18· she does as the assistant chief of surgery.· There's
19· administrative things that she does as a surgeon, such
20· as documenting notes in our computerized patient records
21· system.
22· · · ·Q· · Yeah, but you made that distinction earlier, I
23· think, in the deposition.· We're not talking about
24· administrative time that every physician has in terms
25· of, like, documenting care and all that stuff.


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·1· · · ·A· · Mm-hm.
·2· · · ·Q· · I'm -- I'm talking about administrative time
·3· in that second category that you delineated.· And I'm
·4· just wondering, is there any budgeted administrative
·5· time for the assistant chief of surgery, or is she--?
·6· · · ·A· · I [unintelligible] -- I'm not aware.· I'm not
·7· her supervisor.
·8· · · · · · · · · (Reporter clarification)
·9· · · · · · MR. HOYER:· Sure.
10· · · ·Q· ·(By Mr. Hoyer)· Is there any budgeted time for
11· the administrative duties attendant to the assistant
12· chief of surgery?
13· · · ·A· · I cannot answer that question.· I'm not the
14· chief of surgery, so I don't make that decision.
15· · · ·Q· · Okay.· How much time do you spend, on average,
16· doing the -- the site manager duties?
17· · · · · · MS. SMITH:· Objection.
18· · · · · · THE WITNESS:· I mean, it really -- that
19· question really calls for speculation on my part.
20· · · · · · It -- it could vary depending on the week.· On
21· a -- on great week, I spend probably very little time.
22· On a really bad week where we have a lot of issues going
23· on, so if we have a power outage, if we have systems
24· that are failing, I may spend a lot more time, so it
25· varies by week by week.· I don't keep -- unfortunately,


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·1· I don't keep track of how much time I spend on each
·2· little task that I do per day, so I can't really answer
·3· that question thoroughly.
·4· BY MR. HOYER:
·5· · · ·Q· · Well, I guess, I'm just asking for an average.
·6· You have no sense of what the average amount of time you
·7· spend on the site --
·8· · · ·A· · No.· Unfortunately, that answer would
·9· require --
10· · · · · · · · · (Reporter clarification)
11· BY MR. HOYER:
12· · · ·Q· · You don't -- well, I guess, let's see.
13· · · · · · My question was, I'm just asking for an
14· average.· You have no idea what the average amount of
15· time per week is that you spend on site manager duties.
16· · · ·A· · No.· The answer would be, no, I don't know
17· what the average would be.· Again, I don't track the
18· exact time that I spend on each task.
19· · · ·Q· · I'm not asking for an exact time.· I'm asking
20· for an estimate.· That's an average.
21· · · ·A· · Again, it would require me to speculate on an
22· average time that I can't even give you an average time.
23· · · ·Q· · Now, down in the next paragraph, you talk
24· about Derrick Shelton.
25· · · ·A· · Mm-hm.


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·1· · · ·Q· · Let's see.· Did Derrick Shelton take over any
·2· of the site manager duties that Dr. Velez had?
·3· · · · · · MS. SMITH:· Objection.
·4· · · · · · You can answer.
·5· · · · · · THE WITNESS:· Dock -- Derrick was, at the
·6· time, an administrative officer in my office.· So,
·7· certainly, some of the responsibilities that the site
·8· manager would typically do, I have delegated to Derrick,
·9· as I have also delegated some responsibilities to my
10· executive assistant, who handle things on my behalf.
11· BY MR. HOYER:
12· · · ·Q· · Okay.· I'm a little confused.· Are you talking
13· about site manager duties that you delegated to your
14· executive assistant?
15· · · ·A· · What I'm talking about -- so let me again
16· clarify as I did earlier in the -- in the context of
17· this deposition.· There is no site manager for Martinez.
18· So, when we speak of site manager duties, those duties
19· does not exist on the campus, but as far as the
20· day-to-day operational responsibilities and duties that
21· are associated with my job, I have delegated those to --
22· some of those responsibilities to the administrative
23· officer and some of those responsibilities to my
24· executive assistant.
25· · · ·Q· · Okay.· Do you have a sense of what duties that


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·1· Dr. Velez did do as site manager, Derrick was doing
·2· after you delegated them to him?
·3· · · ·A· · Certainly, I think a lot of the space
·4· planning, so as far as moving people temporarily, some
·5· of that space-planning responsibilities Derrick has
·6· assumed.· He also assumed responsibilities for space
·7· committee, at least of managing space committee, and
·8· making sure that that went well.· As far as other
·9· administrative matters, the -- the administrative
10· officer is doing what I can see -- what I consider to be
11· exceptionally better quality than what was happening
12· under Dr. Velez's leadership, which is tracking work
13· orders to make sure that they're resolved and that the
14· communication loop is back to the end user on those work
15· orders.· We spend a lot of time working to improve that
16· process, and so Derrick has been instrumental in that.
17· · · · · · My administrative -- or my executive assistant
18· rather is also on space committee and provides input to
19· space committee.· She also performs other
20· responsibilities, so she helps with the -- the overall
21· corporate planning for the Martinez campus as well as
22· myself, and so I'm still intimately involved in the
23· planning aspects of Martinez, the Martinez campus.
24· · · ·Q· · Okay.· Do you have a sense of -- of how much
25· time per week on average Mr. Shelton spent once he took


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·1· over the duties that Dr. Velez was doing?
·2· · · ·A· · I can't speculate on how many hours a week,
·3· again, that he was doing.· He was hired to support this
·4· campus, and so he picked up a lot of responsibilities,
·5· some of which Dr. Velez was not doing and some of which
·6· she was doing.
·7· · · ·Q· · Okay.· Let's . . . mark, as the next in
·8· order -- I think it's Exhibit 6 -- a memo from Dr. Velez
·9· to David Stockwell through you dated October 2, 2018.
10· · · · · · · · · · (Exhibit 6 marked)
11· BY MR. HOYER:
12· · · ·Q· · Do you recognize this document?
13· · · ·A· · I do.
14· · · ·Q· · Okay, do you want me to scroll down here?· Do
15· you want to review it?
16· · · ·A· · I would like to review it.
17· · · ·Q· · Okay.· Just tell me when to scroll.
18· · · ·A· · Okay, if you could scroll down just a little
19· bit.
20· · · · · · Okay.
21· · · · · · Okay.
22· · · ·Q· · Okay.· So, did Mr. Stockwell discuss this memo
23· with you?
24· · · ·A· · He did not.
25· · · ·Q· · Okay.· In the second paragraph, she says that


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·1· your action, one, was down -- "done without substantive
·2· cause."
·3· · · · · · I think we -- you've told me now all of your
·4· reasons for -- for your action, correct?
·5· · · ·A· · Correct.
·6· · · ·Q· · Two, "was done without any consultation with
·7· me."
·8· · · · · · Is that correct; you didn't consult her before
·9· you made that decision?
10· · · ·A· · I did not.
11· · · ·Q· · Okay.· Three, "has already produced
12· irreversible damage to my reputation and standing."
13· · · · · · Do you know what she's referring to there?
14· · · ·A· · I do not.
15· · · ·Q· · Okay.· "If continued will produce further
16· damage to my reputation and standing."
17· · · · · · Do you have any idea what she's talking about
18· there?
19· · · ·A· · No idea.
20· · · ·Q· · Okay.· "Will negatively impact the functioning
21· of the Martinez site."
22· · · · · · Any idea what she's talking about there?
23· · · ·A· · No idea, but there has not been any negative
24· impact in the two years since this memorandum to the
25· functioning of the Martinez site.


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·1· · · ·Q· · Okay.· And, when you say there has been no
·2· negative impact in the two years, what is that based on?
·3· Your own assessment?
·4· · · ·A· · My own assessment, yeah.
·5· · · ·Q· · Okay.· Have you gotten anybody else's
·6· assessment to support that?
·7· · · ·A· · I routinely have nurse managers that share
·8· information with me.· I have other clinical staff that
·9· would raise any type of negative impact to my office if
10· there were any negative impact, and none of those issues
11· have been raised.
12· · · ·Q· · Okay.· Have you asked anybody -- was this --
13· this decision one that had any negative impact to the
14· Martinez campus?
15· · · ·A· · No, I haven't specifically asked that
16· question.
17· · · ·Q· · Or anything like that.
18· · · · · · MS. SMITH:· Objection.
19· · · · · · THE WITNESS:· I routinely --
20· · · · · · MS. SMITH:· You can answer.
21· · · · · · THE WITNESS:· Okay.
22· · · · · · I routinely walk around the site and ask staff
23· if there are any challenges or issues that they're
24· facing.· It's rare that there's any major challenge that
25· we aren't able to resolve pretty quickly; and so it --


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·1· it's part of purposeful rounding with leadership, making
·2· sure that you stay engaged as a leader, to consult with
·3· the staff on the front lines who are doing the work to
·4· find out if there's any challenges or barriers that you
·5· can help break down as a leader; and so I do that across
·6· our site.· We also so do we care rounding where we --
·7· · · · · · · · ·(Discussion off the record)
·8· · · · · · THE WITNESS:· We also do WECARE Rounding where
·9· we can gather information from staff to understand if
10· there are challenges that they're facing that they need
11· assistance with, and at no point has anyone come with up
12· anything that would adversely or negatively impact the
13· functioning of our site.
14· BY MR. HOYER:
15· · · ·Q· · In terms of this decision.
16· · · ·A· · In terms --
17· · · ·Q· · Is that what you mean?
18· · · ·A· · -- decision.
19· · · · · · I -- I have not asked specifically, Did
20· Dr. Velez having no title of site manager -- has that
21· had a negative impact?· I have not asked that type of
22· question.
23· · · ·Q· · Has anyone suggested to you that they -- they
24· miss her being -- having the site care -- site manager
25· role?


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·1· · · ·A· · No.
·2· · · ·Q· · Now, down here in this paragraph (I'll just
·3· highlight it), you see, "Mr. Graham was candid that as a
·4· non-physician she" -- "he could not perform those
·5· clinically related functions."
·6· · · · · · Was that correct?· Did you say that?
·7· · · ·A· · Well, certainly, I can't perform clinically
·8· related functions.· What I would say is that if I were
·9· to respond to this -- granted, for the record, I'll note
10· that I did not respond to this memorandum, because the
11· memorandum is to Mr. Stockwell, the medical center
12· director, as the formal grievance process.
13· · · · · · As you can see in the -- this, she --
14· Dr. Velez has a hard time distinguishing between what's
15· narrowly administrative, so design and construction of
16· new administrative building.· Certainly, I've done that
17· many times before.· I'm very comfortable at doing that,
18· and so I have continued to do that after this -- this
19· assign- -- this change of assignment.
20· · · · · · She also defines things as narrowly --
21· narrowly clinical, but not narrowly surgical.· Frankly,
22· I have no -- no idea what that means, because surgery,
23· by its very nature, is clinical, so ranging from the
24· development of new programs in the CL say -- CLC to
25· coordination of ultrasound testing between radiology,


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·1· medicine, and surgery.
·2· · · · · · Certainly, as an assistant chief for our
·3· clinical service, I would expect that she would help to
·4· embrace ideas, come up with creative ideas for new
·5· programs.· I would expect her to identify when we have
·6· clinical gaps at our site.· She's not only the assistant
·7· chief for surgery -- surgery service at Martinez, but
·8· she also has responsibility for Oakland, Mare Island,
·9· and Fairfield, so I would expect her to have some level
10· have clinical presence at those sites, to which she does
11· not, and then I would expect her to interface with those
12· sites to resolve those clinical -- those clinical
13· service gaps.· And so I don't necessarily view things as
14· narrowly clinically, but not narrowly surgical, and that
15· type of thing.
16· · · · · · I -- I look at things as either administrative
17· in nature or clinical in nature, and if they're clinical
18· in nature, her assistant chief of surgery title is
19· sufficient enough to handle those matters.· And,
20· certainly, as a -- as a nonclinician, it would not be in
21· my purview to -- to decide when an ultrasound testing is
22· appropriate or not and who needs to be involved in doing
23· that.
24· · · · · · · (Break requested by the reporter)
25· BY MR. HOYER:


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·1· · · ·Q· · Okay.· So you expected or expect that she
·2· could have accomplished what she's talking about here,
·3· the development of new programs in the CLC to
·4· coordination of ultrasound testing between radiology,
·5· medicine, and surgery in her role as assistant chief of
·6· surgery.
·7· · · ·A· · Yes.
·8· · · ·Q· · And what about space allocation for offices
·9· and exam rooms for all clinical and administrative
10· services?
11· · · ·A· · I would expect that, as the assistant chief of
12· surgery, she would work with my office to solve any
13· space allocation issues that she might encounter as an
14· assistant chief of surgery.· So, for example, if a
15· podiatrist needs a room to perform a nail clinic and
16· there isn't a room available, she would consult with my
17· office, and we would -- I -- we would find space to
18· accommodate that type of clinical environment.
19· · · ·Q· · Okay.· In the next paragraph, she says:
20· · · · · · · · "In Sacramento there is not only a
21· · · · · · Director and an Associate Director, but a
22· · · · · · Chief of Staff, an Assistant Chief of Staff, a
23· · · · · · Director of Patient Care Services, and a
24· · · · · · Deputy."
25· · · · · · Is that correct?


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·1· · · ·A· · That's correct.
·2· · · ·Q· · Okay.
·3· · · · · · · · "I can understand it that" -- "in that
·4· · · · · · context why Mr. Graham may wish to take
·5· · · · · · over . . . purely administrative duties I have
·6· · · · · · been performing, but he cannot perform the
·7· · · · · · narrowly clinical and clinical interface
·8· · · · · · functions of the four clinicians stationed at
·9· · · · · · Mather."
10· · · · · · Is that correct?
11· · · · · · MS. SMITH:· Objection.
12· · · · · · THE WITNESS:· Yeah, I can't -- I can't
13· assert -- that would require speculation on what her
14· intent was behind this memorandum and that specific
15· statement.· It's -- it's true that we have a director;
16· an associate director; a chief of staff; and then a --
17· it's actually a deputy chief of staff, not an assistant
18· chief of staff; and a director of patient care services,
19· which we also call the nurse executive, and there is a
20· deputy nurse executive.· But the -- the key here is that
21· no health care system has multiple chiefs of staff.· No
22· health care system has multiple directors or multiple
23· ADPCSes.
24· · · · · · · · · (Reporter clarification)
25· · · · · · THE WITNESS:· It's ADPCS, the associate


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·1· director for patient care services nurse executive.· And
·2· so the expectation of their jobs is that they will be
·3· responsible for the clinical oversight of the entire
·4· health care system.
·5· · · · · · Martinez has one CBOC of 12 locations in VA
·6· Northern California Health Care System.· So, in
·7· contrast, the VA has over 1700 locations across the
·8· country.· We don't have directors and chiefs of staff
·9· and nurse executives at all 1700 locations.· They're
10· responsible for their entire health care system.
11· · · · · · MR. HOYER:· Okay.· I think we can take a break
12· now.
13· · · · · · · · (Break taken from 2:25 p.m. to
14· · · · · · · · 2:37 p.m.)
15· BY MR. HOYER:
16· · · ·Q· · Let's see.· I know that I asked you whether
17· you had any discussions with Mr. Stockwell and
18· Dr. Cahill about the decision to reassign the site
19· manager duties away from Dr. Velez.
20· · · · · · I guess, my question now is, Did you have any
21· more general discussions about Dr. Velez's impressions
22· of -- sorry, scratch that -- Dr. Cahill's impressions of
23· Dr. Velez prior to your decision?
24· · · · · · MS. SMITH:· Objection.
25· BY MR. HOYER:


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·1· · · ·Q· · Did -- let me -- let me ask a -- maybe more
·2· artful question.· Did Dr. Cahill give you any
·3· impressions he had of Dr. Velez prior to your decision?
·4· · · ·A· · No.
·5· · · · · · MS. SMITH:· Objection.
·6· · · · · · MR. HOYER:· Okay.
·7· · · · · · MS. SMITH:· It's okay.· Your answer stands.
·8· · · · · · THE WITNESS:· No.
·9· BY MR. HOYER:
10· · · ·Q· · All right, what -- what about -- oh, Ms. Do,
11· are you still there?
12· · · · · · THE REPORTER:· Yes, I'm here.
13· · · · · · MR. HOYER:· Oh, okay, I don't -- I didn't see
14· you, so I was worried that you had fallen off the Zoom
15· or something.
16· · · ·Q· ·(By Mr. Hoyer)· What about Mr. Stockwell; did
17· he give you any impressions he had of Dr. Velez prior to
18· your decision?
19· · · · · · MS. SMITH:· Objection.
20· · · · · · THE WITNESS:· No.· No.
21· · · · · · MR. HOYER:· Okay.· Did you get that, Ms. Do?
22· · · · · · THE REPORTER:· Yes.
23· BY MR. HOYER:
24· · · ·Q· · Okay.· Dr. Hundahl, did he give you any
25· impressions he had of Dr. Velez prior to your decision?


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·1· · · · · · MS. SMITH:· Objection.
·2· · · · · · THE WITNESS:· No.
·3· BY MR. HOYER:
·4· · · ·Q· · Okay.· Now, does -- does the term "labor
·5· mapping" mean anything to you?
·6· · · ·A· · Yes.
·7· · · ·Q· · What does that mean?
·8· · · ·A· · It is a -- a process whereby we -- we map who
·9· reports to who and account for the work that an
10· individual is doing.
11· · · ·Q· · When you say account for the work, what do you
12· mean in terms of hours?
13· · · ·A· · It would be what period -- what period of time
14· is -- is clinical for -- for a physician, let's say,
15· what amount of their time is clinical versus what period
16· of time is administrative.
17· · · ·Q· · Okay.· Has Dr. Velez's position ever been
18· labor mapped, to your knowledge?
19· · · ·A· · I have no knowledge of whether or not it has.
20· I -- every service has to labor-map, so I would imagine
21· that it had been labor-mapped, but I'm not sure when it
22· was last updated or what the current status of her labor
23· mapping is.
24· · · ·Q· · Okay.· Is -- is that some information that
25· you, in your position, could access?


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·1· · · ·A· · Yes.
·2· · · ·Q· · Did you consider taking a look at that
·3· information prior to deciding that she needed to spend
·4· more time being a full-time surgeon and --
·5· · · · · · MS. SMITH:· Objection --
·6· BY MR. HOYER:
·7· · · ·Q· · -- less time on [unintelligible]?
·8· · · · · · · · · (Reporter clarification)
·9· · · · · · MR. HOYER:· Yes.
10· · · ·Q· ·(By Mr. Hoyer)· Did you consider taking a look
11· at the labor-mapping of her position prior to deciding
12· that she needed to spend more time being a surgeon and
13· less time doing administrative stuff related to the site
14· manager position?
15· · · · · · MS. SMITH:· Objection.
16· · · · · · THE WITNESS:· No, I did not consider labor
17· mapping as part of that.· I've reiterated, in the
18· deposition, the factors that I considered as part of
19· that decision-making.
20· BY MR. HOYER:
21· · · ·Q· · Yeah.· Is there a reason you didn't look at
22· the -- the labor mapping, or was it information that was
23· difficult to come by?
24· · · ·A· · No, it's not -- it's not information that's
25· difficult to come by.· I didn't find the -- I didn't see


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·1· the significance in looking at labor mapping as a basis
·2· for removing duplicative effort of that -- that I'm
·3· responsible for as associate director that -- that was
·4· being done by a vascular surgeon.
·5· · · ·Q· · Okay.· Are you familiar with the Office of
·6· Resolution Management?
·7· · · ·A· · Yes.
·8· · · ·Q· · Okay.· And -- and just what is that in
·9· layman's terms?
10· · · ·A· · In layman's terms, they evaluate the -- they
11· investigate EEO complaints, harassment complaints, a
12· variety of different types of complaints that are made
13· by VA personnel regarding management officials; and then
14· they -- they are -- they provide an objective
15· investigation and then provide a report if they have --
16· if they found wrongdoing on behalf of management.
17· · · ·Q· · Okay.· And have you ever been interviewed by
18· the ORM in the context of an investigation?
19· · · · · · MS. SMITH:· Objection.
20· BY MR. HOYER:
21· · · ·Q· · You can answer.
22· · · ·A· · The only time that I've been interviewed by
23· ORM is regarding Dr. Velez's case, and I -- I have -- I
24· would have to look back at the documentation to
25· determine whether or not the individual was with ORM or


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·1· a different office.
·2· · · ·Q· · Okay.· Do you remember the individual's name?
·3· · · ·A· · I think it was -- I -- I can't say
·4· 100 percent, but I think it was Barthel or something
·5· like that.
·6· · · ·Q· · Okay.· And was that a face-to-face interview
·7· or over the phone or . . . ?
·8· · · ·A· · It was by phone and predominantly through a
·9· written -- written interrogatories.
10· · · ·Q· · Okay.· Do you remember how long the interview
11· was on the phone?
12· · · ·A· · I do not.
13· · · ·Q· · Okay.· I will share Exhibit 7.· Aw, I'm
14· getting good at this.· Okay, this is Exhibit 7, and
15· it -- it purports to be the written affidavit of you in
16· the matter of EEO complaint of discrimination filed by
17· Pauline Velez.
18· · · · · · Do you recognize this document?
19· · · ·A· · I apologize, Counsel, but I can't see the
20· document.
21· · · · · · MS. SMITH:· Me either, Counsel.
22· · · · · · MR. HOYER:· Oh, no.· Okay.· That's what I get
23· for saying I'm getting good at this time.· I pulled it
24· up on my screen, but I didn't share the screen.· Here we
25· go.· All right.


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·1· · · · · · THE WITNESS:· Yes, I'm aware --
·2· BY MR. HOYER:
·3· · · ·Q· · Now -- okay.· So this is -- we're marking this
·4· as Exhibit 7, and, again, it's the Written Affidavit of
·5· Timothy Graham In the Matter of EEO Complaint of
·6· Discrimination filed by Pauline Velez.
·7· · · · · · · · · · (Exhibit 7 marked)
·8· BY MR. HOYER:
·9· · · ·Q· · And so let me -- are those your initials down
10· at the bottom there?
11· · · ·A· · It is.
12· · · ·Q· · Okay.· And just tell me if you want me to
13· scroll through it, when you want me to scroll through
14· it.
15· · · ·A· · I'm -- I'm -- I'm familiar with the document.
16· · · ·Q· · Okay.· Now, did you prepare this document
17· yourself?
18· · · ·A· · I prepared the answers to the questions, yes.
19· · · ·Q· · Okay.· But somebody else, sort of, typed it up
20· in a form, and then you signed it?
21· · · ·A· · It was -- it was sent to me in this format by
22· the Office of Resolution Management, with the questions.
23· So if you want to scroll down just a little bit . . .
24· · · ·Q· · Sure.· Here.
25· · · ·A· · You'll see there, on Question 1, "Please write


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·1· your . . . legal name," so that was provided, and then I
·2· supplemented the answers and typed them myself.
·3· · · ·Q· · Okay.· Now, Question 5, you say that you were
·4· her -- served in a supervisory capacity to Dr. Velez
·5· from when you arrived there, basically, until August 20,
·6· 2018; is that correct?
·7· · · ·A· · That's correct.
·8· · · ·Q· · Okay.
·9· · · ·A· · But I would stipulate that I served as her
10· supervisor only for her site management role.
11· · · ·Q· · Right.· I'm just going through my notes of the
12· document, and you've already answered some of my
13· questions previously, so rather than ask them again, I'm
14· going to read through the -- here.· We are actually
15· making progress.
16· · · · · · All right, I think that's all I have on this
17· document.
18· · · · · · · · · · (Exhibit 8 marked)
19· BY MR. HOYER:
20· · · ·Q· · All right.· We have Exhibit 8, which is the
21· Investigative Report In the Matter of the EEO Complaint
22· of Discrimination of Pauline Velez.
23· · · · · · Have you seen this document before?
24· · · ·A· · I have.
25· · · ·Q· · Okay.· And did you receive it on or shortly


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·1· after the date of its issuance?
·2· · · ·A· · I don't recall the exact date that I received
·3· it.· I received it from our EEO officer here at Northern
·4· California Health Care System.
·5· · · ·Q· · Okay.· And starting down -- oh, did -- did you
·6· want met to scroll through it, or are you familiar with
·7· it?
·8· · · ·A· · I'm familiar with it.
·9· · · ·Q· · Okay.· So I'm going to go down to -5707 Bates
10· stamp, and it has a summary of your testimony here.· Do
11· you see that?
12· · · ·A· · Yes.
13· · · ·Q· · And is this an accurate description of your --
14· your testimony?
15· · · · · · MS. SMITH:· Objection.
16· BY MR. HOYER:
17· · · ·Q· · You can answer.
18· · · ·A· · I just need to review it here.· I would agree
19· up -- I would agree so far.
20· · · · · · If you scroll back up to where it says
21· "Complainant has served" on page 6 there.· Yeah, there
22· we go.
23· · · ·Q· · Yeah.
24· · · ·A· · Okay, if you could scroll down to "The change
25· of [sic] assignment issued on August 20[th] . . ."


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·1· · · · · · Okay, if you can scroll on down.
·2· · · · · · I would say that that's an accurate depiction
·3· of my testimony.
·4· · · ·Q· · Okay.· Do you know whether since your decision
·5· regarding a site manager role, did -- has there been any
·6· impact on physician retention or turnover?
·7· · · ·A· · I can't speculate on the physician retention
·8· or turnover rate without looking at that -- looking at
·9· that data specifically.
10· · · ·Q· · Do your job duties encompass any
11· responsibilities for physician retention or turnover?
12· · · ·A· · Certainly, the only part that I am responsible
13· for is, I do review retention incentives that are being
14· proposed for physicians who may be leaving the health
15· care system, but I'm only the approver, from a financial
16· perspective, of whether or not we can afford to pay a
17· retention incentive.· But otherwise I'm not responsible
18· for the retention of physicians.· That responsibility is
19· with the chief of staff's office.
20· · · ·Q· · And, when you say a "retention incentive,"
21· what are -- what are you referring to?
22· · · ·A· · A retention incentive is a monetary incentive
23· that's usually based on percentage of the physician's
24· salary that would be given to them in order to retain
25· them in their position; and in exchange for that, they


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·1· have to commit to a one-year service agreement in
·2· exchange for that retention incentive; and if they leave
·3· prior to that one-year service agreement, they have to
·4· pay that retention incentive back.
·5· · · ·Q· · All right, let's look at Exhibit 9 . . . which
·6· appears to be a spreadsheet entitled "Pending
·7· Appointment Summary by Service."
·8· · · ·A· · Mm-hm.
·9· · · · · · · · · · (Exhibit 9 marked)
10· BY MR. HOYER:
11· · · ·Q· · And, Mr. Graham, have you seen this document
12· before?
13· · · ·A· · I have.
14· · · ·Q· · And is this a document that you consult in the
15· ordinary course of your duties?
16· · · ·A· · Not in the ordinary course of my duties.· This
17· is a document is a routinely shared through benefits
18· data -- benefits and data management service, along with
19· the group practice managers, to show the wait times for
20· both new and established patients.
21· · · ·Q· · Okay.· And, as you look at this spreadsheet,
22· are you able to -- to say to yourself, oh, gosh we have
23· to do a better job in, say, podiatry, because, look,
24· there's a long wait time for podiatry?· Or do you not
25· have the expertise necessary to analyze the chart that


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·1· way?
·2· · · ·A· · No, I have the --
·3· · · · · · MS. SMITH:· Objection.
·4· · · · · · THE WITNESS:· -- I have --
·5· · · · · · MS. SMITH:· You can answer.
·6· · · · · · THE WITNESS:· I have the necessary expertise
·7· to review the chart and -- and understand where we
·8· needed to more work, because the VA standard is 28 days
·9· for new and established patients.
10· BY MR. HOYER:
11· · · ·Q· · Okay.· So, does this appear to suggest that
12· the -- the -- the wait times -- something needs to be
13· done to reduce the wait times for vascular surgery?
14· · · · · · MS. SMITH:· Objection.
15· · · · · · THE WITNESS:· As you can see, the vascular
16· surgery is on the line that's labeled 415.· The wait
17· time for the patient indicated day -- greater than 20
18· days is at 55 for new patients, 32 for established
19· patients, both of which exceed the VA standard of 28
20· days; and then the wait time for a patient indicated
21· greater 20 days for all in vascular surgery.· For new
22· patients, it's 48.· For established, it's 14.· So
23· vascular is exceeding VA expectations on 14 days, but
24· not meeting the new-patient expectations within 28 days.
25· BY MR. HOYER:


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·1· · · ·Q· · Okay.· And do you know whether anything was
·2· done to improve the numbers for vascular surgeries since
·3· the date here is June 6th, 2019?
·4· · · ·A· · I haven't looked at the recent data, so I
·5· can't speculate unless I pull that recent data.
·6· · · ·Q· · Okay.· Now let's pull up Exhibit 10.
·7· · · · · · · · · · (Exhibit 10 marked)
·8· BY MR. HOYER:
·9· · · ·Q· · Can you see that?
10· · · ·A· · I can.
11· · · ·Q· · Okay.· So, Exhibit 10 appears to be
12· "Appointment - Completed Summary."· This is the chart,
13· and so this has a different format appearance, anyway,
14· than Exhibit 9.· Do you know why?
15· · · ·A· · Well, it looks like this -- the Exhibit 9 is
16· based on the entire health care system.· This looks like
17· a narrowed search of wait time data for Martinez only.
18· · · ·Q· · I see.· Okay.· So, what about vascular surgery
19· according to this chart?· How were they doing in 2018 in
20· Martinez?
21· · · ·A· · Trying to -- 2018 in Martinez, it looks like
22· there was nine people with a -- nine with a -- so
23· 3.5 percent with no wait.· 80.7 had up to 30-days wait,
24· 19.3 greater than 30 days.· So, certainly, Martinez is
25· better than the overall average for the health care


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·1· system.· But I would like to go on the record, though,
·2· to state that, as the assistant chief of surgery,
·3· Dr. Velez is not solely responsible for vascular
·4· surgery.· In fact, Dr. Velez is not the section chief
·5· for vascular surgery.· She's the assistant chief for all
·6· of surgery service.· So all of these services combined
·7· are -- as an assistant chief, are part of her overall
·8· responsibility and vision and also not just the Martinez
·9· site.
10· · · · · · Martinez is one of 12 sites across VA Northern
11· California Health Care Systems for which she's
12· responsible for as an assistant chief of surgery, with a
13· particular focus on Martinez, Oakland, Fairfield, and
14· Mare Island located in Vallejo.· So this is just one of
15· four sites that she's predominantly responsible for.
16· · · ·Q· · When you say "this," do you mean Exhibit 10?
17· · · ·A· · Exhibit 10, which is Martinez-only data.
18· · · ·Q· · Okay.· So, what you're saying is that she has
19· responsibilities to try to reduce the wait time in all
20· of these categories.· Is that correct?
21· · · ·A· · That would be correct.
22· · · ·Q· · And what are the -- do you have any idea as
23· what she was supposed to be doing to reduce those wait
24· times?
25· · · ·A· · I do not.· That would be a decision that would


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·1· be -- be between her and her supervisor, the chief of
·2· surgery service.
·3· · · ·Q· · Well, I'm not sure -- if -- if -- if you know
·4· that she had some responsibilities, how is it that you
·5· don't know what any of those responsibilities are?
·6· · · ·A· · So I don't know the context of what she and
·7· the chief of surgery service have discussed in terms of
·8· their wait time, and so I can't speculate on that.· What
·9· I would tell you is that I think that she would need to
10· understand precisely why each of these services have a
11· wait time.· I think there would have to be a -- and,
12· again, this is all me speculating on what -- what I
13· would do if I were in those circumstances.· But she
14· would need to look at the clinic graphics to see which
15· providers are seeing which patients on which days and
16· how -- what types of patients they're seeing and really
17· working with the -- with the group practice manager in
18· surgery service to identify any opportunities to add
19· more appointments to the already existing clinic grids,
20· and if not, putting together a proposal to bring on
21· additional physicians to address the capacity issues.
22· · · ·Q· · Well, I don't want you to speculate, sir.
23· I'm -- I'm -- I'm just asking, are you aware of any
24· responsibilities that she had with respect to -- to the
25· wait times?


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·1· · · ·A· · Well, as surgery services assistant chief
·2· she's a part of the senior management team for surgery
·3· service.· We -- we would expect that the clinical
·4· service that's responsible and their management team
·5· would come up with a plan to address their wait times.
·6· · · ·Q· · The clinical service being surgery?
·7· · · ·A· · Being -- here being surgery service.
·8· · · ·Q· · Okay.· So, she was supposed to come up with a
·9· proposal.· Is that what you're saying?
10· · · · · · MS. SMITH:· Objection.
11· · · · · · Go ahead.
12· · · · · · THE WITNESS:· I can't -- I can't speculate on
13· what she should have done.· It should have been -- there
14· should have been discussions between her and, at that
15· time, Dr. Hundahl to figure out how they're going to
16· address wait times.
17· BY MR. HOYER:
18· · · ·Q· · Okay.· Did -- did Dr. Hundahl ever do anything
19· with respect to addressing wait time?
20· · · · · · MS. SMITH:· Objection.
21· · · · · · THE WITNESS:· It's a question that I can't
22· answer.· Dr. Hundahl did not report to me.
23· BY MR. HOYER:
24· · · ·Q· · Okay.· Oh, let's see.· So, with respect to
25· patient wait times, it's fair to say that you don't have


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·1· any ongoing responsibilities in that area?
·2· · · ·A· · No, I don't think that that would be a fair
·3· characterization.· I think that, as an executive member
·4· of a -- of an organization, as a chief operating officer
·5· for an organization -- I think it would be very
·6· unprofessional and, frankly, unethical for me to say
·7· that I don't have any responsibility for wait times.               I
·8· think it's a shared responsibility between the executive
·9· team as well as the surgery executive team.· So I think
10· it's probably a joint responsibility for all of us to
11· address wait times.
12· · · ·Q· · Okay.· Can you describe your particular
13· responsibilities with respect to patient wait times?
14· · · ·A· · I would say that my -- my direct
15· responsibility would -- one of the ways is to -- if we
16· bring on a new surgeon, is to make sure that we have --
17· or a new clinician in general, to make sure that we have
18· space available for them to make sure that we can afford
19· them financially.
20· · · · · · In the government, we operate a bit
21· differently than private sector.· All of our funds
22· are -- we don't rely on payment of bills to fund us.
23· We -- we have appropriated federal funding, so making
24· sure that we have the funding to support increasing the
25· overall staffing for surgery that would also support


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·1· decreasing wait times, making sure they have the
·2· equipment that they need to successfully perform their
·3· responsibilities that they have, making sure that they
·4· have the OR time, making sure that things run
·5· efficiently, I would see all those as -- as joint
·6· ownership that I have as an executive member.
·7· · · ·Q· · Okay.· And have you managed to secure
·8· additional funding to reduce the patient wait times?
·9· · · · · · MS. SMITH:· Objection.
10· · · · · · THE WITNESS:· I can't specifically address
11· surgical service.· Certainly, they have been given new
12· funding since 2018.· They've been given new positions
13· each year, including the this year, and certainly every
14· year we do a data call out -- a funding call out to
15· services, asking for additional funding proposals.
16· · · · · · For example, this year, I was able to procure
17· about $30 million in extra clinical funding to support
18· various clinical programs, but I will note that surgical
19· service did not submit any of those funding proposals.
20· They did not respond to that action.
21· BY MR. HOYER:
22· · · ·Q· · Okay.· Did you have any discussion with
23· Dr. Hundahl about why not?
24· · · ·A· · Well, Dr. Hundahl is no longer the chief of
25· surgery service.· So, for this year, he was not here to


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·1· have that discussion.
·2· · · ·Q· · Yeah, who's the -- who's the current chief of
·3· the surgery service?
·4· · · ·A· · Dr. Scott Fuller.
·5· · · ·Q· · And did you have any discussion with
·6· Dr. Fuller about why not?
·7· · · ·A· · I did not directly, as he's not my direct
·8· report.· Dr. Cahill would have had that discussion.
·9· · · ·Q· · Okay.· Do you know whether Dr. Cahill had that
10· discussion with him?
11· · · ·A· · I do not.
12· · · ·Q· · Okay.· What about equipment; is -- have you
13· secured additional equipment for surgery that reduced
14· the patient wait times?
15· · · · · · MS. SMITH:· Objection.
16· · · · · · THE WITNESS:· I'm -- yeah, I'm not sure.
17· Certainly, the -- I chair the equipment committee, and
18· so part of that is prioritizing equipment needs for the
19· health care system.· It's made of a multidisciplinary
20· team that includes both clinicians as well as
21· administrative staff.· This year we have -- I can speak
22· in this year.· I would have to look at other data, but
23· in this year, we spent over $7 million on equipment
24· health care system-wide.· Again, I would have to go into
25· our system and break down how much of that is surgery,


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·1· and then even then I'm not sure that I could correlate
·2· how much of that would reduce patient wait times.
·3· BY MR. HOYER:
·4· · · ·Q· · I mean, are you -- do you -- looking here at
·5· the numbers for 2018, are the numbers for the past year
·6· any better?
·7· · · · · · MS. SMITH:· Objection.
·8· · · · · · THE WITNESS:· I don't have those numbers in
·9· front of me to respond.
10· BY MR. HOYER:
11· · · ·Q· · You don't have a general sense of whether
12· patient wait time is -- is, sort of, getting better or
13· worse?
14· · · ·A· · I don't, not for each specialty.· I would say
15· in general -- in general, health care systemwide it's
16· getting better, but specifically for surgery clinics,
17· I'm not sure.· I don't have that data to compare.
18· · · ·Q· · Okay.· And what about OR time; has the
19· situation gotten better?
20· · · ·A· · I don't specifically --
21· · · · · · MS. SMITH:· Objection.
22· · · · · · THE WITNESS:· I -- sorry, but --
23· · · · · · MS. SMITH:· Objection.
24· · · · · · THE WITNESS:· -- I --
25· · · · · · MS. SMITH:· It's okay.


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·1· · · · · · THE WITNESS:· I don't specifically get
·2· involved with OR time.· Dr. Cahill, that's within his
·3· realm of expertise.
·4· · · · · · MR. HOYER:· Oh, I see, okay.
·5· · · · · · All right.· Why don't we take a five-minute
·6· break, come back at 3:15?· I think I'm done with my
·7· questions, but I want to review my notes and make sure
·8· that I've got everything.
·9· · · · · · MS. SMITH:· That's fair.
10· · · · · · · · (Break taken from 3:10 p.m. to
11· · · · · · · · 3:17 p.m.)
12· · · · · · MR. HOYER:· All right, back on the record.
13· · · ·Q· ·(By Mr. Hoyer)· So, when you embarked on the
14· decision-making process to reassign the site manager
15· title away from Dr. Velez, you were aware that she had
16· had that title for a long time, right?
17· · · ·A· · I was aware that it -- that she had it for a
18· long time, yes.
19· · · ·Q· · Did you have any -- any sense whether it meant
20· something -- it was really meaningful to her or not?
21· · · ·A· · I do --
22· · · · · · MS. SMITH:· Objection.
23· · · · · · THE WITNESS:· -- not.· I -- I can't speculate
24· on what was meaningful for her.· She never expressed
25· whether or not it was meaningful to her.


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·1· BY MR. HOYER:
·2· · · ·Q· · Did you try to gauge how meaning it was to her
·3· before you made the decision?
·4· · · ·A· · No.
·5· · · ·Q· · Okay.· Were you surprised that she objected to
·6· it, your decision?
·7· · · · · · MS. SMITH:· Objection.
·8· · · · · · THE WITNESS:· I -- I can't say that I was
·9· surprised necessarily.
10· BY MR. HOYER:
11· · · ·Q· · Did you consider speaking with her physician
12· supervisor (Dr. Hundahl) or anyone else, for -- for that
13· matter, about whether this was going to create some sort
14· of problem, this decision--?
15· · · · · · MS. SMITH:· Object- -- objection.· [Sneezes].
16· Sorry.
17· · · · · · MR. HOYER:· Did you get that, Ms. Do?
18· · · · · · · · ·(Discussion off the record)
19· · · · · · · · (Record read as follows:
20· · · · · · · · "QUESTION:· Did you consider
21· · · · · · · · speaking with her physician
22· · · · · · · · supervisor (Dr. Hundahl) or anyone
23· · · · · · · · else, for -- for that matter, about
24· · · · · · · · whether this was going to create
25· · · · · · · · some sort of problem, this


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·1· · · · · · · · decision--?")
·2· · · · · · MR. HOYER:· "Politically" was the last word,
·3· actually.
·4· · · · · · THE REPORTER:· Okay, then let's do the
·5· question over.
·6· · · · · · MR. HOYER:· Okay.
·7· · · ·Q· ·(By Mr. Hoyer)· Did you consider discussing
·8· your decision with Dr. Hundahl or Mr. Stockwell or
·9· Dr. Cahill to make sure that your decision was going to
10· create the least amount of problems politically with
11· Dr. Velez?
12· · · · · · MS. SMITH:· Objection.
13· · · · · · THE WITNESS:· No.· I -- I am not sure what you
14· mean by the word "politically."· Certainly, in
15· government, we think of -- of "politically" in terms
16· probably different than -- than maybe you think about
17· them, but I don't understand the -- the meaning -- in
18· the context of this question, the meaning of that word.
19· But I did not discuss with them the decision, again,
20· because if it was -- if it were to be -- by a court,
21· determined to be an adverse action, those -- those prior
22· communications would be considered ex parte
23· communication, and I'm very careful, when I take any
24· type of action, not to engage in ex parte communication.
25· BY MR. HOYER:


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·1· · · ·Q· · So why would the discussion with her physician
·2· supervisor, Dr. Hundahl, be an ex parte communication,
·3· given that the site manager reporting was to you, not to
·4· Hundahl?
·5· · · ·A· · My concern was that if it became -- if it
·6· was -- if it were to be -- be determined to be an
·7· adverse action, while I was her supervisor, Dr. Velez
·8· was never formally under a physician description.· So,
·9· if you really think about it in terms of government
10· regulation, if she's not in a formal position
11· description, then, legally, I'm not her supervisor.· Her
12· supervisor would -- would have always been Dr. Hundahl
13· in the eyes of the Court, was what my thoughts and
14· interpretation were at that time.
15· · · ·Q· · And -- I'm not sure what you mean, but is
16· it -- are you saying that that's why you didn't talk to
17· Hundahl first?
18· · · ·A· · Right.· I did not talk to Hundahl about that.
19· And, also, Hundahl is not respons- -- Dr. Hundahl was
20· not responsible for site manager-related
21· responsibilities, and so my decision had no bearing on
22· him as the chief of surgery.
23· · · ·Q· · Well, if -- if she did not have a formal
24· position description, then why were you concerned that
25· it might be an adverse action or an ex parte


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·1· communication to talk to Stockwell?
·2· · · · · · MS. SMITH:· Objection.
·3· · · · · · THE WITNESS:· Well, first of all, because any
·4· time that -- that you take an action of reassigning or
·5· changing assignment of duties, the -- the physician has
·6· the right to file a grievance.· Mr. Stockwell is the
·7· final decision on a grievance, and so that would be ex
·8· parte communication.· And it's really to create a fair
·9· process for Dr. Velez to file a grievance and have it
10· heard in a fair and equitable manner by the -- by the
11· responding official versus me being able to give him my
12· opinions on something that would -- that could
13· potentially not -- I'm not saying that it would, but
14· could potentially impair his ability to make a -- a -- a
15· fair and equitable decision.· So it was really in
16· Dr. Velez's best interest that I not communicate,
17· particularly with Mr. Stockwell since he was the final
18· authority on the grievance.
19· · · ·Q· · And then, I guess, the other question I had
20· was about EEO activity, and I'm not sure whether I asked
21· that -- this or not.· I apologize if I did.
22· · · · · · In the course of your duties, are you informed
23· of staff EEO complaints?
24· · · ·A· · I would ask for some clarification.· When --
25· when you refer to staff, are you talking about all staff


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·1· or only my direct reports?
·2· · · ·Q· · All staff.· Let's start with all staff.
·3· · · ·A· · No, I'm not informed with regard to all staff
·4· EEO complaints.
·5· · · ·Q· · Okay.· With respect to your direct reports?
·6· · · ·A· · I'm only aware -- from my direct reports, I'm
·7· only aware if I'm named as a witness in the EEO
·8· complaint or if I'm named as the responsible management
·9· official in an EEO complaint.· That's the only time that
10· I become aware of them.· So, for example, if my CFO gets
11· an EEO complaint filed against him, unless -- unless I
12· am named as a witness, I'm not made aware of that EEO
13· complaint.
14· · · ·Q· · Have you been named as a witness in any EEO
15· complaint since you started in Martinez, to your
16· knowledge?
17· · · · · · MS. SMITH:· Objection.
18· · · · · · THE WITNESS:· Would you like me to continue
19· answering, Valerie?
20· · · · · · MS. SMITH:· Yeah.
21· · · · · · THE WITNESS:· Okay.
22· · · · · · So, yes, I have been named as a witness in
23· some EEO complaints since I -- since I've been here.               I
24· can't quantity the number.· I would have to think about
25· that, but it's -- it's less than five.


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·1· BY MR. HOYER:
·2· · · ·Q· · Okay.· And what was your involvement in those
·3· complaints, or were you just interviewed as a witness?
·4· · · ·A· · Yes, only as a witness.· I was not named as
·5· the responsible management official in any of those
·6· complaints.· I do have a current one that's just in the
·7· beginning phases, but none prior to that.
·8· · · ·Q· · What do you mean "a current one"?
·9· · · ·A· · It was just recently filed as an EEO
10· complaint.
11· · · ·Q· · Where you're the responsible official?
12· · · ·A· · I'm one of them, yeah.
13· · · ·Q· · Okay.· I see.· And -- and, as the lead or
14· chief administrator per the Martinez location, it's not
15· part of your duties to be apprised of how many EEO
16· complaints are filed or that sort of thing?
17· · · · · · MS. SMITH:· Objection.
18· · · · · · THE WITNESS:· So -- so I -- I know how many --
19· I can tell you annually.· We get report-outs from our
20· EEO officer on the total number that might be filed, how
21· many are pending.· We get generalized data, but I don't
22· know any specifics regarding those cases.· So if I'm --
23· if I misunderstood your prior question, I apologize.               I
24· get general comprehensive data regarding our EEO
25· activity, but not specific to a named individual.· So


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·1· he -- he might tell us that we have, for example, 10 EEO
·2· cases pending, but I don't know who those ten people
·3· are.
·4· BY MR. HOYER:
·5· · · ·Q· · Okay.· And have you ever involved yourself in
·6· the process of, say, trying to reduce the number of EEO
·7· complaints?
·8· · · · · · MS. SMITH:· Objection.
·9· BY MR. HOYER:
10· · · ·Q· · Through education, sort of, management,
11· education, that sort of thing?
12· · · · · · MS. SMITH:· Objection.
13· · · · · · THE WITNESS:· Certainly, we do all kinds of
14· education on EEO.· I participated in labor management
15· forums where we've met with our labor union to talk
16· about EEO complaints, to talk about general labor
17· relations issues.· We all take EEO training annually.
18· Every single manager has to take EEO training annually.
19· · · · · · I've also attended various workshops offered
20· by ORM that focus in on EEO and how to reduce EEO
21· complaints.· We meet -- like I said, we do meet with the
22· EEO officer to find out if there are any specific
23· challenges that we need to address and how we do that.
24· So, for example, to that end, we are in the process of
25· hiring a diversity and inclusion officer for our health


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·1· care system to further our EEO improvement efforts.· So,
·2· certainly, as an executive leader, I would take part of
·3· those -- in those types of discussions.· But as far as
·4· owning a process or managing a process to reduce, I have
·5· not.
·6· BY MR. HOYER:
·7· · · ·Q· · Okay.· And would it be part of your duties to
·8· address a situation where a particular individual was
·9· the subject of several EEO complaints, from a management
10· perspective?
11· · · ·A· · I'm not sure I understand your question.
12· · · ·Q· · Yeah, I mean, to the extent that a particular
13· individual has had multiple EEO complaints against him
14· or her, is that something that you would get involved
15· with trying to -- to deal with that situation?
16· · · ·A· · Okay.· Thank you for that clarification.· Now
17· I understand.
18· · · · · · Yes.· If -- if the individual reports directly
19· to me and they have -- they have found to -- to have
20· violated EEO regulations on multiple occasions,
21· certainly, they -- that would be grounds for
22· disciplinary action if they reported to me directly.
23· I -- that would be a responsibility, but I have not had
24· that reality, though.
25· · · ·Q· · I see.· And because the doctors don't report


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·1· to you, if a doctor has had multiple EEO complaints,
·2· that wouldn't really come within your purview?
·3· · · ·A· · Correct, that would not come within my
·4· purview.
·5· · · ·Q· · Okay.· And you have not heard that Dr. Velez
·6· has a reputation there at Martinez of taking a
·7· particular interest in EEO rights and responsibilities?
·8· · · ·A· · I have not heard that until today.
·9· · · ·Q· · Okay.· All right, I don't think I have any
10· further questions for you, Mr. Graham.· Thanks for your
11· time today.
12· · · ·A· · Thank you.
13· · · · · · MS. SMITH:· And I'm just demanding a copy in
14· order to inspect and review.
15· · · · · · THE REPORTER:· I'm not sure I understand.
16· · · · · · MS. SMITH:· I'm demanding a copy of the
17· deposition transcript in order to review it.
18· · · · · · · · ·(Discussion off the record)
19· · · · · · THE REPORTER:· I've never heard it put that
20· way.· So you're requesting a read and sign?
21· · · · · · MS. SMITH:· Yes.
22· · · · · · THE REPORTER:· Okay.
23· · · · · ·(The deposition concluded at 3:33 p.m.)
24· · · · · · · · · · · · · ·--oOo--
25


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·1· · · · · · DECLARATION UNDER PENALTY OF PERJURY

·2

·3· · · · · · I, TIMOTHY HUGH GRAHAM, do hereby certify,

·4· under penalty of perjury, that I have read the foregoing

·5· transcript of my deposition taken on May 3, 2021; that I

·6· have made such corrections as appear noted on the

·7· Deposition Errata Page, attached hereto, signed by me;

·8· that my testimony as contained herein, as corrected, is

·9· true and correct.

10· · · · · · Dated this ______ day of _________________,

11· 2021, at _________________________, ___________________.
· · · · · · · · · · · (City)· · · · · · · · · (State)
12

13
· · · · · · · · · · ·______________________________
14· · · · · · · · · ·TIMOTHY HUGH GRAHAM

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·1· · · · · · · · · ·CERTIFICATE OF REPORTER

·2· · · · · · I, Quyen N. Do, CSR No. 12447, a Certified

·3· Shorthand Reporter, hereby certify that the witness in

·4· the foregoing deposition was, by me, duly sworn to tell

·5· the truth, the whole truth, and nothing but the truth in

·6· the within-entitled cause;

·7· · · · · · That said deposition was taken down in

·8· shorthand by me, a disinterested person, at the time and

·9· place therein stated, and that the testimony of the said

10· witness was thereafter reduced to typewriting, by

11· computer, under my direction and supervision;

12· · · · · · That before completion of the deposition,

13· review of the transcript [X] was [ ] was not requested.

14· If requested, any changes made by the deponent (and

15· provided to the reporter) during the period allowed are

16· appended hereto.

17· · · · · · I further certify that I am not of counsel or

18· attorney for either or any of the parties to the said

19· deposition, nor in any way interested in the event of

20· this cause, and that I am not related to any of the

21· parties thereto.

22
· · · · · · · DATED:· July 15, 2021
23

24· · · · · · · · ·__________________________
· · · · · · · · · ·Quyen N. Do, CSR No. 12447
25


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